      20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26                                  Exhibit D -
      Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold                             Pg 1 of 46



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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
..........................................................X
                                                                        Chapter 11

In re:                                                    Case No.: 20-23280 (RDD)
                                                          Chapter 11
      85 FLATBUSH RHO MEZZ LLC, et al.,1


                            Debtors                       (Jointly Administered)
                                     Debtors.
.............................................................X


1
    The Debtors (as defined) in these chapterChapter 11 casesCases, along with the last four digits of each Debtor’s
    federal tax identification number, areinclude: 85 Flatbush RHO Mezz LLC. (6184); 85 Flatbush RHO Hotel LLC
    (5027); and 85 Flatbush RHO Residential LLC (2261).

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 20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26                     Exhibit D -
 Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold                Pg 2 of 46




 PLAN OF REORGANIZATION OFCHAPTER 11 PLAN FILED BY CREDITOR TH
                            HOLDCO LLC
 RELATED TO 85 FLATBUSH RHO MEZZ, LLC, 85 FLATBUSH RHO HOTEL LLC,
                AND 85 FLATBUSH RHO RESIDENTIAL LLC

     ROBINSON                              BROG                                LEINWAND
GREENE             GENOVESE                     &               GLUCK                  P.C.
Attorneys forTH Holdco LLC as creditor files this Chapter 11 plan related to the Debtors

                                             875 Third Avenue
                                             New York, New York 10022
                                             Tel. No.: 212-603-6300

       Fred B. Ringel, Esq.
Lori Schwartz, Esq.New York, New York
November 24, 2021 85 Flatbush RHO Mezz, LLC, 85 Flatbush RHO Hotel LLC, and 85
Flatbush RHO Residential LLC, the Debtors herein propose the following chapter 11
plan of reorganization pursuant to section 1121(a) of the Bankruptcy Code. Capitalized
terms used herein shall have the meanings set forth in Section 1.A.

        The Plan constitutes a separate chapter 11 plan for each Debtor. The classifications set
forth in Classes shall be deemed to apply to each Debtor identified, except that Class 3 shall
apply to each of the Debtors. TH Holdco reserves the right to proceed to seek confirmation with
respect to the Plan as to each Debtor separately and to proceed to confirm the Plan with respect to
some but not all of the Debtors.

SECTION 1.              DEFINITIONS AND INTERPRETATION.

       A.      Definitions.

       1.1 85 Flatbush Avenue means 85 Flatbush Avenue 1 LLC in its capacity as the
prepetition lender to 85 Flatbush RHO Hotel and 85 Flatbush RHO Residential.
If 85 Flatbush Avenue credit bids to acquire the Hotel Property and Residential
Property under section 363(k) of the Bankruptcy Code, then, in that context,
the term “85 Flatbush Avenue” includes any nominee, designee or assignee of
85 Flatbush Avenue to whom 85 Flatbush Avenue has assigned or transferred
its claim, in whole or in part, for purpose of making such credit bid.

      1.2 85 Flatbush Mortgage means the first priority mortgage on the
Hotel Property and Residential Property granted to 85 Flatbush Avenue by 85
Flatbush RHO Hotel and 85 Flatbush RHO Residential to secure the 85
Flatbush Avenue Prepetition Loan.1.3       85 Flatbush Avenue Prepetition
Loan Agreement means that certain Consolidated, Amended and Restated
Note dated September 19, 2019 pursuant to which 85 Flatbush Avenue
advanced a loan to 85 Flatbush RHO Hotel and 85 Flatbush RHO Residential


2US_Active\120281430\V-116
 20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26                    Exhibit D -
 Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold               Pg 3 of 46



in the original principal amount of $70,000,000 secured by the Hotel Property
and Residential Property.

        1.2 1.4 85 Flatbush Mezz means 85 Flatbush Mezz LLC in its capacity as the
prepetition mezzanine lender to 85 Flatbush RHO Mezz.

        1.3 1.5 85 Flatbush Hotel Pledge Agreement means the Ownership Interest Pledge
and Security Agreement dated September 19, 2019 which pledged and granted 85 Flatbush Mezz
a security interest in 85 Flatbush RHO Mezz’s membership interest in 85 Flatbush RHO Hotel as
security for the 85 Flatbush Mezz Loan Agreement.

       1.4 1.6 85 Flatbush Residential Pledge Agreement means the Ownership Interest
Pledge and Security Agreement dated September 19, 2019 which pledged and granted 85
Flatbush Mezz a security interest in 85 Flatbush RHO Mezz’s membership interest in 85
Flatbush RHO Residential as security for the 85 Flatbush Mezz Loan Agreement.

       1.5 1.7 85 Flatbush Mezz Loan Agreement means that certain Mezzanine
Promissory Note dated September 19, 2019 and Mezzanine Loan Agreement pursuant to which
85 Flatbush Mezz advanced a loan to 85 Flatbush RHO Mezz in the original principal amount of
$6,000,000 secured by the 85 Flatbush Hotel Pledge Agreement and 85 Flatbush Residential
Pledge Agreement.

       1.6 1.8 85 Flatbush RHO Mezz means 85 Flatbush RHO Mezz LLC, a Debtor in
these Chapter 11 Cases.

       1.7 1.9 85 Flatbush RHO Hotel means 85 Flatbush RHO Hotel LLC, a Debtor in
these Chapter 11 Cases.

       1.8 1.10 85 Flatbush RHO Residential means 85 Flatbush RHO Residential LLC, a
Debtor in these Chapter 11 Cases.

         1.9 1.11 Administrative Expense Claim means any Claim for costs and expenses of
Administration during the Chapter 11 Cases pursuant to sections 328, 330, 363, 364(c)(1), 365,
503(b) or 507(a)(2) of the Bankruptcy Code, including, (a) the actual and necessary costs and
expenses incurred after the Commencement Date and through the Effective Date of preserving
the Estates and operating the business of the Debtors (such as wages, salaries or commissions for
services and payments for goods and other services and leased premises); (b) Fee Claims; and (c)
all fees and charges assessed against the Estates pursuant to section 1911 through 1930 of chapter
123 of title 28 of the United States Code, 28 U.S.C. §§section 1-1401.

        1.10 1.12 Administrative Expense Claims Bar Date means the first Business Day
that is 30 days following the EffectiveConfirmation Date, except as otherwise specifically set
forth in the Plan.

       1.11 1.13 Administrative Expense Claims Objection Bar Date means the first
Business Day that is 12060 days following the Effective Date, except as otherwise specifically



3US_Active\120281430\V-116
 20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26                         Exhibit D -
 Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold                    Pg 4 of 46



set forth in the Plan; provided that the Administrative Claims Objection Bar Date may be
extended pursuant to an order of the Bankruptcy Court upon a motion filed by the Post-Effective
Date Debtors after notice and a hearing.

        1.12 1.14 Allowed means with reference to any Claim (a) any Claim against any
Debtor that has been listed by the Debtor in its Schedules, as such Schedules may be
amended by the Debtor from time to time in accordance with Bankruptcy Rule
1009, as of the date of the filing of this Plan as liquidated in amount and not disputed or
contingent and for which no contrary proof of Claim has been filed, (b) any Claim listed on the
Schedules or included in a timely filed proof of Claim, as to which no objection to allowance has
been, or subsequently is, interposed in accordance with Section 7.9 hereof or prior to the
expiration of such other applicable period of limitation fixed by the Bankruptcy Code, the
Bankruptcy Rules, or the Bankruptcy Court, or as to which any objection has been determined by
a Final Order to the extent such Final Order is in favor of the respective holder, or (c) any Claim
expressly allowed by a Final Order. Any filed Proof of Claim in the 85 RHO Flatbush Hotel
Case or in the 85 RHO Flatbush Residential Case which is not the subject of a pending objection
as of the Confirmation Date shall be deemed Allowed unless such date is extended by the
Bankruptcy Court for good cause shown.

       1.13 1.15 Auction means the auction for the sale of the Hotel Property and/or
Residential Property to be held in accordance with the Sale and Bid Procedures.

       1.14 1.16 Available Cash means all Cash of the Debtor realized from its business
operations, the sale or other disposition (other than the Sale Transaction) of its assets, the interest
earned on its invested funds, recoveries from Causes of Action or from any other source or
otherwise.

       1.15 1.17 Avoidance Action means any action commenced, or that may be
commenced, before or after the Effective Date pursuant to section 544, 545, 547, 548, 549, 550,
or 551 of the Bankruptcy Code.

        1.16 1.18 Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. §§
101, et seq., as amended from time to time, as applicable to the Chapter 11 Case.

        1.17 1.19 Bankruptcy Court means the United States Bankruptcy Court for the
Southern District of New York having jurisdiction over the Chapter 11 Case and, to the extent of
any reference made under section 157 of title 28 of the United States Code, the unit of such
District Court having jurisdiction over the Chapter 11 Case under section 151 of title 28 of the
United States Code.

       1.18 1.20 Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under section 2075 of title 28 of the United
States Code, as amended from time to time, applicable to the Chapter 11 Case, and any Local
Rules of the Bankruptcy Court.

       1.19 1.21 Bar Date Order means that certain Order Establishing Deadline for Filing
Proofs of Claim Against the Debtors and Approving the Form and Manner of Notice Thereof


4US_Active\120281430\V-116
 20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26                      Exhibit D -
 Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold                 Pg 5 of 46



entered on March 15, 2021 at ECF No. 58 which established April 21, 2021 as the last day for
creditors to file claims against the Debtors’ Estates and established June 16, 2021 as the last date
for Governmental Units to file claims against the applicable Debtor’s estate.

        1.20 1.22 Business Day means any day other than a Saturday, a Sunday or any other
day on which banking institutions in New York, New York are required or authorized to close by
law or executive order.

       1.21 1.23 Cash means legal tender of the United States of America.

        1.22 1.24 Causes of Action means any action, Claim, cause of action, controversy,
demand, right, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account,
defense, offset, power, privilege, license and franchise of any kind or character whatsoever,
known, unknown, contingent or non-contingent, matured or unmatured, suspected or
unsuspected, liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable
directly or derivatively, whether arising before, on, or after the Commencement Date, in contract
or in tort, in law or in equity or pursuant to any other theory of law. Cause of Action also
includes: (a) any right of setoff, counterclaim or recoupment and any claim for breach of contract
or for breach of duties imposed by law or in equity; (b) the right to object to Claims or Interests;
(c) any Avoidance Action; (d) any claim or defense including fraud, mistake, duress and usury
and any other defenses set forth in section 558 of the Bankruptcy Code; and (e) any state law
fraudulent transfer claim.

       1.23 1.25 Chapter 11 Cases means the jointly-administered cases under chapter 11 of
the Bankruptcy Code commenced by the Debtors on December 18, 2020 and styled In re 85
Flatbush RHO Mezz LLC, et al., Case No. 20-23280 (RDD).

       1.24 1.26 Claim has the meaning set forth in section 101(5) of the Bankruptcy Code.

       1.25 1.27 Claims Objection Bar Date means the first Business Day that is 12060
days after the Effective Date; provided that the Claims Objection Bar Date may be extended
pursuant to an order of the Bankruptcy Court upon a motion filed by the Post-Effective Date
Debtors.

        1.26 1.28 Class means any group of Claims or Interests classified pursuant to Section
3.1 of the Plan.

       1.27 1.29 Closing Date means the date of the closing of the Sale Transaction.

       1.28 1.30 Commencement Date means December 18, 2020.

       1.29 1.31 Confirmation means the entry on the docket of the Chapter 11 Cases of the
Confirmation Order.

       1.30 1.32 Confirmation Date means the date on which the Clerk of the Bankruptcy
Court enters the Confirmation Order.



5US_Active\120281430\V-116
 20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26                    Exhibit D -
 Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold               Pg 6 of 46



        1.31 1.33 Confirmation Hearing means the hearing to be held by the Bankruptcy
Court regarding Confirmation of the Plan, as such hearing may be adjourned or continued from
time to time.

        1.32 1.34 Confirmation Order means an order of the Bankruptcy Court (a)
confirming the Plan; (b) approving the Sale Transaction; (c) determining that Purchaser is a good
faith purchaser; (d) providing that the closing of the Sale Transaction will occur in accordance
with the terms and conditions of the Purchase Agreement; and (e) providing that the delivery of
the deed in accordance with the terms of the Confirmation Order and Purchase Agreement
approved under this Plan, if confirmed by the Court, shall constitutesconstitute the making or
delivery of an instrument of transfer under a plan confirmed under section 1129 of this title and
may not be taxed under any law imposing a stamp tax or similar taxTransfer Tax.

       1.33 1.35 Consummation means the occurrence of the Effective Date of the Plan.

       1.34 1.36 Cure Obligation means all (a) amounts (or such other amount as may be
agreed upon by the parties under an Executory Contract or Unexpired Lease) required to cure any
monetary defaults; and (b) other obligations required to cure any non-monetary defaults under
any Executory Contract or Unexpired Lease that is to be assumed by the Debtors and assigned to
Purchaser pursuant to sections 365 or 1123 of the Bankruptcy Code.

       1.35 1.37 Debtor means any of the Debtors in its respective individual capacity as a
debtor and debtor in possession in the Chapter 11 Cases.

       1.36 1.38 Debtors mean 85 Flatbush RHO Mezz, 85 Flatbush RHO Hotel, and 85
Flatbush RHO Residential.

       1.37 1.39 Disbursing Agent means the Debtors’ counsel, the entity or person
designated by the Plan Supplement or the Confirmation Order and charged with the
responsibility of making the payments under the Plan.

       1.38 1.40 Disclosure Statement means the Disclosure Statement for the Plan which is
prepared and distributed in accordance with sections 1125, 1126(b) and/or 1145 of the
Bankruptcy Code, Bankruptcy Rule 3018 and/or other applicable law.

        1.39 1.41 Disputed Claim means with respect to a Claim or Interest, any such Claim
or Interest (a) to the extent neither Allowed nor disallowed under the Plan or a Final Order nor
deemed Allowed under section 502, 503 or 1111 of the Bankruptcy Code, or (b) for which a
Proof of Claim or Interest has been filed, to the extent the Debtor or any party in interest has
interposed a timely objection or request for estimation before the Confirmation Date in
accordance with the Plan, which objection or request for estimation has not been withdrawn or
determined by a Final Order.

        1.40 1.42 Distribution Date means a date or dates, as determined by the Disbursing
Agent in accordance with the terms of the Plan, on which the Disbursing Agent makes a
distribution to holders of Allowed Claims.



6US_Active\120281430\V-116
 20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26                       Exhibit D -
 Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold                  Pg 7 of 46



       1.41 1.43 Distribution Record Date means the Effective Date of the Plan.

       1.42 1.44 Effective Date means the date on which all conditions to the effectiveness
of the Plan set forth in Section 10 hereof have been satisfied or waived in accordance with the
terms of the Plan.

       1.43 1.45 Entity has the meaning set forth in section 101(15) of the Bankruptcy Code.

       1.44 1.46 Estate means as to each Debtor, the estate created for the Debtor in its
Chapter 11 Case pursuant to section 541 of the Bankruptcy Code upon the commencement of
each respective Debtor’s Chapter 11 Case.

        1.45 1.47 Estimated Professional Fee Escrow means the escrow account established
by the Debtors or TH Holdco ten (10) days prior to the Effective Date holding sufficient Cash to
pay the Fee Claims in full, less any applicable retainers held by such professionals, subject to
their Allowance by the Bankruptcy Court upon the later of (i) the Effective Date ofor (ii) the date
upon which the order relating to any such Allowed Fee Claim is entered or (iii) upon such other
terms and conditions as may be agreed to between the holder of such an Allowed Fee Claim, and
the DebtorsTH Holdco. The Estimated Professional Fee Escrow shall be funded first from the
Debtors’ cash on hand as of the Effective Date of the Plan.

        1.46 1.48 Exculpated Parties means collectively: (a) the Debtors; (b) TH Holdco; (c)
the Purchaser; and (cd) with respect to each of the foregoing entities in clauses (a) through (bc) ,
such entities’ successors and assigns, subsidiaries, affiliates, current and former officers,
directors, principals, shareholders, members, partners, employees, agents, advisory board
members, financial advisors, attorneys, accountants, investment bankers, consultants,
representatives, management companies, and other professionals, and such persons’ respective
heirs, executors, Estates, servants and nominees, in each case in their capacity as such. Nothing
herein shall be deemed to release or impact claims held by TH Holdco against non-debtor
guarantors.

         1.47 1.49 Executory Contract means a contract or lease to which a Debtor is a party
that is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

     1.48 1.50 Existing Equity Interests means all Interests in a Debtor, including
membership interests or the rights to acquire any such Interests.

        1.49 1.51 Fee Claim means a Claim for professional services rendered or costs
incurred on or after the Commencement Date through the Effective Date by professional persons
retained by the DebtorDebtors pursuant to sections 327, 328, 329, 330, 331, 503(b) or 1103 of
the Bankruptcy Code in the Chapter 11 CaseCases.

        1.50 1.52 Final Order means an order or judgment of a court of competent
jurisdiction that has been entered on the docket maintained by the clerk of such court, which has
not been reversed, vacated or stayed and as to which (a) the time to appeal, petition for certiorari,
or move for a new trial, reargument or rehearing has expired and as to which no appeal, petition
for certiorari, or other proceedings for a new trial, reargument or rehearing shall then be pending,


7US_Active\120281430\V-116
 20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26                      Exhibit D -
 Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold                 Pg 8 of 46



or (b) if an appeal, writ of certiorari, new trial, reargument or rehearing thereof has been sought,
such order or judgment shall have been affirmed by the highest court to which such order was
appealed, or certiorari shall have been denied, or a new trial, reargument or rehearing shall have
been denied or resulted in no modification of such order, and the time to take any further appeal,
petition for certiorari or move for a new trial, reargument or rehearing shall have expired;
provided, however, that no order or judgment shall fail to be a “Final Order” solely because of
the possibility that a motion pursuant to section 502(j) or section 1144 of the Bankruptcy Code or
under Rule 60 of the Federal Rules of Civil Procedure or Bankruptcy Rule 9024 has been or may
be filed with respect to such order or judgment.

        1.51 1.53 General Unsecured Claim means any unsecured Claim that is not entitled
to priority under the Bankruptcy Code or any order of the Bankruptcy Court.

      1.52 1.54 Governmental Unit has the meaning set forth in section 101(27) of the
Bankruptcy Code.

       1.53 1.55 Hotel means 85 Flatbush RHO Hotel LLC.

        1.54 1.56 Hotel Property means the real property and improvements thereon located
at 85 Flatbush Extension, Brooklyn, New York (Block 120; Lots 1201, 1202).

        1.55 1.57 Impaired means, with respect to a Claim, Interest or Class of Claims or
Interests, “impaired” within the meaning of section 1124 of the Bankruptcy Code.

       1.56 Intercreditor Agreement means that certain Intercreditor Agreement dated as of
September 19, 2019 and as amended as of July 23, 2020 by and between 85 Flatbush Avenue (as
now assigned to TH Holdco) as senior lender and 85 Flatbush Mezz as mezzanine lender.

        1.57 1.58 Interests means any equity security in a Debtor as defined in section
101(16) of the Bankruptcy Code, including all instruments evidencing an ownership interest in
the Debtor, whether or not transferable, and any option, warrant or right, contractual or
otherwise, to acquire any such interests in the Debtor that existed immediately before the
Effective Date.

       1.58 1.59 Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

       1.59 1.60 Mezz means 85 Flatbush RHO Mezz LLC.

        1.60 1.61 Other Priority Claim means any Claim against the Debtor entitled to
priority in payment as specified in section 507(a)(3), (4), (5), (6), (7) or (9) of the Bankruptcy
Code, other than an Administrative Expense Claim or a Priority Tax Claim.

      1.61 1.62 Other Secured Claim means a Secured Claim, other than the 85 Flatbush
Avenue Secured Claim or 85 Flatbush Mezz Secured Claim.




8US_Active\120281430\V-116
 20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26                    Exhibit D -
 Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold               Pg 9 of 46



        1.62 1.63 Person means an individual, corporation, partnership, joint venture,
association, Joint Stock Company, Limited Liability Company, limited liability partnership, trust,
estate, unincorporated organization, Governmental Unit or other entity.

        1.63 1.64 Plan means this chapter 11 plan of reorganization, including the
exhibits hereto and the Plan Supplement, as the same may be amended or modified from time to
time in accordance with Sections herein.

       1.64 1.65 Plan Fund means the aggregate of: (1) the Sale Proceeds, which shall be
allocable to the Hotel Property and/or the Residential Property as set forth in the Purchase
Agreement; and (2(2) the TH Holdco Additional Consideration; and (3) the Debtors’ available
Cash which shall be utilized to make payments to creditors in accordance with the terms of this
Plan.

       1.65 1.66 Plan Supplement means the compilation of documents and information, if
any, required to be disclosed in accordance with section 1129(a)(5) of the Bankruptcy Code;
provided that, through the Effective Date, the DebtorTH Holdco shall have the right to amend
any schedules, exhibits, and the other documents contained in, and exhibits to, the Plan
Supplement.

       1.66 1.67 Plan Supplement Filing Deadline means the date that is no later than 15
days prior to the Confirmation Hearing.

       1.67 1.68 Priority Tax Claim means any unsecured Claim of a Governmental Unit of
the kind entitled to priority in payment as specified in sections 502(i) and 507(a)(8) of the
Bankruptcy Code.

        1.68 1.69 Pro Rata means the proportion that an Allowed Claim in a particular Class
bears to the aggregate amount of Allowed Claims and Disputed Claims within such Class.

       1.69 1.70 Proof of Claim means a proofProof of Claim filed against a Debtor in its
Chapter 11 Case.

       1.70 Properties means the Hotel Property and/or the Residential Property.

        1.71 Purchase Agreement means an Asset Purchase Agreement, in form and
substance reasonably acceptable to the DebtorsTH Holdco, a form of which is included
in the Plan Supplement by and between the Debtors, as sellers, and the
Purchaser, as buyerfiled by TH Holdco, which provides for the sale of the Hotel
Property and/or Residential Property, submitted at or prior to the Auction and determined
by the DebtorsTH Holdco pursuant to the Sale and Bid Procedures to reflect the highest
or otherwise best offer for the Hotel Property and/or Residential Property.

        1.72 Purchaser means one or more purchasers under the Purchase Agreement. The
identity of the Purchaser and the purchase price for the Hotel Property and/or Residential
Property will be set forth in executed Purchase Agreement filed no later than 28 days prior
to the Disclosure Statement hearingpromptly after the Confirmation Hearing. The


9US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 10 of 46



opening bid for the Auction is anticipated to be the TH Holdco Credit Bid with the TH Holdco
Additional Consideration and TH Holdco Unsecured Claim Dedicated Fund.

        1.73 Residential means 85 Flatbush RHO Residential LLC.

        1.74 Residential Property means the real property and improvements thereon located
at 85 Flatbush Extension, Brooklyn, New York (Block 120; Lot 1203).

       1.75 Sale and Bid Procedures means the sale, bid and auction procedures as approved
by the Bankruptcy Court establishing, among other things, procedures for the Auction and the
terms and conditions related to the Sale Transaction under this Plan.

        1.76 Sale Proceeds means theany cash proceeds from the Sale Transaction net of
closing costs directly related to the Sale Transaction including but not limited to Debtors’
brokerage fees, title costs and other ordinary and necessary costs of, or credits related to, the
transfer of title of the Hotel Property and/or Residential Property.

       1.77 Sale Transaction means the sale of the Hotel Property and/or Residential Property
pursuant to the Plan.

        1.78 Schedule of Cure Costs means the schedule of any Executory Contracts and
Unexpired Leases to be assumed by the Debtors and assigned to the Purchaser, to be filed with
the Plan Supplement and/or the fully executed Purchase Agreement.

        1.79 Schedules means the schedules of assets and liabilities and the statement of
financial affairs filed by the Debtors under section 521 of the Bankruptcy Code, Bankruptcy Rule
1007, and the Official Bankruptcy Forms of the Bankruptcy Rules, as such schedules and
statements have been or may be supplemented or amended from time to time.

       1.80 Secured Claim means a Claim to the extent (i) secured by property of the Estate,
the amount of which is equal to or less than the value of such property (A) as set forth in the
Plan, (B) as agreed to by the holder of such Claim and the DebtorTH Holdco or (C) as
determined by a Final Order in accordance with section 506(a) of the Bankruptcy Code,; or (ii)
secured by the amount of any rights of setoff of the holder thereof under section 553 of the
Bankruptcy Code.

        1.81 TH Holdco means TH Holdco LLC as assignee of 85 Flatbush Avenue in its
capacity as the prepetition lender to 85 Flatbush RHO Hotel and 85 Flatbush RHO Residential.
If TH Holdco credit bids to acquire the Hotel Property and Residential Property under section
363(k) of the Bankruptcy Code, then, in that context, the term “TH Holdco” includes any
nominee, designee or assignee of TH Holdco to whom TH Holdco has assigned or transferred its
claim, in whole or in part, for purpose of making such credit bid.

        1.82 TH Holdco Additional Consideration shall mean cash or other consideration in
the form of an additional secured loan advance or such other form as TH Holdco shall determine
in its sole discretion to pay Allowed Cure Obligations, Allowed Administrative Expenses,




10US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 11 of 46



Allowed Priority Claims and such other amounts as TH Holdco shall determine in its sole
discretion.

        1.83 TH Holdco Credit Bid means a credit bid for all of the assets subject to the lien
held by TH Holdco in the aggregate amount of at least $85,000,000, to be allocated among such
encumbered assets as announced by TH Holdco at or prior to the hearing on the Disclosure
Statement or such higher and better bid as TH Holdco may thereafter submit. TH Holdco intends
to submit a single credit bid for both of the Hotel Property and the Residential Property. If a cash
bid is approved pursuant to the Sale and Bidding Procedures for just the Hotel Property or just
the Residential Property as a separate lot, then TH Holdco shall indicate the amount of the TH
Holdco Credit Bid for the applicable Property it is acquiring through the Credit Bid.

       1.84 TH Holdco Mortgage means the first priority mortgage on the Hotel Property and
Residential Property granted to 85 Flatbush Avenue and currently held by TH Holdco by 85
Flatbush RHO Hotel and 85 Flatbush RHO Residential to secure the TH Holdco Prepetition
Loan.

        1.85 TH Holdco Prepetition Loan Agreement means that certain Consolidated,
Amended and Restated Note dated September 19, 2019 pursuant to which 85 Flatbush Avenue
advanced a loan to 85 Flatbush RHO Hotel and 85 Flatbush RHO Residential in the original
principal amount of $70,000,000 secured by the Hotel Property and Residential Property which is
currently held by TH Holdco.

        1.86 TH Holdco Unsecured Claim Dedicated Fund means a segregated and dedicated
fund of $200,000 cash provided by TH Holdco from its TH Holdco Credit Bid to be allocated pro
rata, based on the total amount of Allowed General Unsecured Claims in Classes 6 and 8, among
holders of Allowed General Unsecured Claims against 85 RHO Flatbush Hotel or 85 RHO
Flatbush Residential but not with respect to any Allowed General Unsecured Claims against 85
RHO Flatbush Mezz. This Fund shall be available only if TH Holdco closes the Sale
Transaction as the successful acquirer of either the Hotel Property and the Residential Property or
both Properties, unless otherwise agreed by TH Holdco in its sole discretion.

       1.87 Transfer Tax means a stamp, transfer, mortgage recording or similar tax,
including, without limitation, New York City Real Property Transfer Tax and New York State
Real Estate Transfer Tax.

        1.88 1.81 Unimpaired means, with respect to a Claim, Interest or Class of Claims or
Interests, that such Claim or Interest is not “impaired” within the meaning of sectionsections
1123(a)(4) and 1124 of the Bankruptcy Code.

        B.      Interpretation; Application of Definitions and Rules of Construction.

        Unless otherwise specified, all section or exhibit references in the Plan are to the
respective section in, or exhibit to, the Plan, as the same may be amended, waived or modified
from time to time. The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of
similar import refer to the Plan as a whole and not to any particular section, subsection or clause
contained therein. The headings in the Plan are for convenience of reference only and shall not


11US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 12 of 46



limit or otherwise affect the provisions hereof. For purposes herein: (1) in the appropriate
context, each term, whether stated in the singular or the plural, shall include both the singular and
the plural, and pronouns stated in the masculine, feminine, or neuter gender shall include the
masculine, feminine, and the neuter gender; (2) any reference herein to a contract, lease,
instrument, release, indenture, or other agreement or document being in a particular form or on
particular terms and conditions means that the referenced document shall be substantially in that
form or substantially on those terms and conditions; (3) unless otherwise specified, all references
herein to “Sections” are references to Sections hereof or hereto; (4) the rules of construction set
forth in section 102 of the Bankruptcy Code shall apply; and (5) any term used in capitalized
form herein that is not otherwise defined but that is used in the Bankruptcy Code or the
Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the
Bankruptcy Rules, as the case may be.

        C.      Controlling Document

       In the event of an inconsistency between the Plan and the Plan Supplement, except for the
terms of the Purchase Agreement, the terms of the Plan shall control (unless stated otherwise in
the Plan). The provisions of the Plan and of the Confirmation Order shall be construed in a
manner consistent with each other so as to effect the purposes of each; provided that, if there is
determined to be any inconsistency between any Plan provision and any provision of the
Confirmation Order that cannot be so reconciled, then, solely to the extent of such inconsistency,
the provisions of the Confirmation Order shall govern and any such provision of the
Confirmation Order shall be deemed a modification of the Plan and shall control and take
precedence.

SECTION 2.              ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS.

        2.1     Administrative Expense Claims.

       Except to the extent that a holder of an Allowed Administrative Expense Claim and the
Debtors agree to different treatment, the Debtors shall pay to each holder of an Allowed
Administrative Expense Claim, Cash in an amount equal to such Claim (plus statutory interest on
such claim, if applicable), on or as soon thereafter as is reasonably practicable, the later of (a) the
Closing Date andor (b) the first Business Day after the date that is thirty (30) calendar days after
the date such Administrative Expense Claim becomes an Allowed Administrative Expense
Claim; provided that Allowed Administrative Expense Claims representing liabilities incurred in
the ordinary course of business by the Debtors shall be paid by the Debtors (or TH Holdco on
behalf of the applicable Estate) in the ordinary course of business, consistent with past practice
and in accordance with the terms and subject to the conditions of any agreements governing,
instruments evidencing or other documents relating to such transactions.

        Except as otherwise provided by a Final Order previously entered by the Bankruptcy
Court (including the Bar Date Order), requests for payment of Administrative Expense Claims,
other than requests for payment of Fee Claims, must be filed and served on the Debtors no later
than the Administrative Expense Claims Bar Date pursuant to the procedures specified in the
Confirmation Order and the notice of entry of the Confirmation Order.



12US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 13 of 46



        Holders of Administrative Expense Claims that are required to file and serve a request for
payment of such Administrative Expense Claims and that do not file and serve such a request by
the Administrative Expense Claims Bar Date shall be forever barred, estopped, and enjoined
from asserting such Administrative Expense Claims against the Debtors or their property, and the
Administrative Expense Claims shall be deemed compromised, settled, and released as of the
Effective Date. The Debtors or TH Holdco must file and serve objections to Administrative
Expense Claims on or before the Administrative Expense Claims Objection Bar Date.

        2.2     Fee Claims.

        All Entities seeking an award by the Bankruptcy Court of Fee Claims shall (i) provide a
detailed estimate of all fees incurred through the Confirmation Hearing and estimated to be
incurred through the Effective Date and (ii) file their respective final applications for allowance
of compensation for services rendered and reimbursement of expenses incurred by the date that is
thirty (30) days after the Effective Date. No later than ten (10) days prior to the Effective Date,
all entities holding claims for Fee Claims shall serve upon the Debtors aand TH Holdco an
updated notice of the estimated amount of their unpaid Fee Claim and the Debtors or TH Holdco
shall segregate, into an Estimated Professional Fee Escrow, the amounts which are necessary to
pay the amount of such Fee Claim, in full (or in such amount as the Bankruptcy Court sets)
subject to Allowance by the Bankruptcy Court (i) upon the later of (A) the Effective Date and (B)
the date upon which the order relating to any such Allowed Fee Claim is entered or (ii) upon such
other terms as may be mutually agreed upon between the holder of such an Allowed Fee Claim
and the Debtors. The Debtors with the prior written consent of TH Holdco are authorized to pay
compensation for services rendered or reimbursement of expenses incurred after the
Confirmation Date in the ordinary course and without the need for Bankruptcy Court approval.
TH Holdco does not consent to use of any of its collateral or proceeds thereof to pay fees and
costs incurred in connection with litigation or actions adverse to TH Holdco, including, without
limitation, in opposition to this Plan or challenging any aspect of TH Holdco’s Claims in any
manner. The Estimated Professional Fee Escrow shall be funded first from the Debtors’ cash on
hand as of the Effective Date of the Plan.

        2.3     Priority Tax Claims.

        Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a different
treatment, each holder of an Allowed Priority Tax Claim shall receive Cash in an amount equal
to such Allowed Priority Tax Claim on, or as soon thereafter as is reasonably practicable, the
later of the Closing Date, the first Business Day after the date that is thirty (30) calendar days
after the date such Priority Tax Claim becomes an Allowed Priority Tax Claim, and the date such
Allowed Priority Tax Claim is due and payable in the ordinary course.

SECTION 3.              CLASSIFICATION OF CLAIMS AND INTERESTS.

        3.1     Classification in General.

       A Claim or Interest is placed in a particular Class for all purposes, including voting,
confirmation, and distribution under this Plan and under sections 1122 and 1123 of the
Bankruptcy Code; provided that a Claim or Interest is placed in a particular Class for the purpose


13US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 14 of 46



of receiving distributions pursuant to this Plan only to the extent that such Claim or Interest is an
Allowed Claim or Allowed Interest in that Class and such Claim or Interest has not been
satisfied, released, or otherwise settled prior to the Effective Date.

        3.2     Summary of Classification.

        The following table designates the Classes of Claims against and Interests in the Debtors
and specifies which of those Classes are (a) Impaired or Unimpaired by the Plan, (b) entitled to
vote to accept or reject the Plan in accordance with section 1126 of the Bankruptcy Code, and (c)
deemed to reject the Plan. In accordance with section 1123 of the Bankruptcy Code,
Administrative Expense Claims and Priority Tax Claims have not been classified and, thus, are
excluded from the classes of Claims and Interests set forth in this Section 3. All of the potential
Classes for the Debtors are set forth herein. The Debtors may not have holders of Claims or
Interests in a particular Class or Classes, and such Classes shall be treated as set forth in Section
4.




14US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 15 of 46




Class       Designation                          Treatment                Entitled to Vote
                                                                                   No
            85 Flatbush RHO Hotel Other
    1                                                 Unimpaired              (presumed to
            Priority Claims
                                                                                 accept)
                                                                                   No
            85 Flatbush RHO Residential
    2                                                 Unimpaired              (presumed to
            Other Priority Claims
                                                                                 accept)
            85 Flatbush AvenueTH
    3                                                   Impaired                   Yes
            Holdco Secured Claim
            85 Flatbush RHO Hotel Other
    4                                                   Impaired                   Yes
            Secured Claims
            85 Flatbush RHO Residential
    5                                                   Impaired                   Yes
            Other Secured Claims
            85 Flatbush RHO Hotel General
    6                                                   Impaired                   Yes
            Unsecured Claims
            85 Flatbush RHO Hotel Existing
    7                                                   Impaired                   Yes
            Equity Interests
            85 Flatbush RHO Residential
    8                                                   Impaired                   Yes
            General Unsecured Claims
            85 Flatbush RHO Residential
    9                                                   Impaired                   Yes
            Existing Equity Interests
            85 Flatbush Mezz Other Priority
   10                                                   Impaired                   Yes
            Claims
   11       85 Flatbush Mezz Claim                      Impaired                   Yes
            85 Flatbush Mezz Other Secured
   12                                                   Impaired                   Yes
            Claims
            85 Flatbush Mezz General
   13                                                   Impaired                   Yes
            Unsecured Claims
            85 Flatbush Mezz Existing Equity                               YesNo (deemed to
   14                                                   Impaired
            Interests                                                          reject)


        3.3     Special Provision Governing Unimpaired Claims.

        Except as otherwise provided in the Plan, nothing under the Plan shall affect the rights of
the Debtors or TH Holdco in respect of any Unimpaired Claims, including all rights in respect of
legal and equitable defenses to, or setoffs or recoupments against, any such Unimpaired Claims.


15US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 16 of 46



        3.4     Elimination of Vacant Classes.

        Any Class of Claims or Interests that, as of the commencement of the Confirmation
Hearing, does not have at least one holder of a Claim or Interest that is Allowed in an amount
greater than zero for voting purposes shall be considered vacant, deemed eliminated from the
Plan for purposes of voting to accept or reject the Plan, and disregarded for purposes of
determining whether the Plan satisfies section 1129(a)(8) of the Bankruptcy Code with respect to
that Class.

        3.5     Voting Classes; Presumed Acceptance by Non-Voting Classes.

        If a Class contains Claims or Interests eligible to vote and no holders of Claims or
Interests eligible to vote in such Class vote to accept or reject the Plan, the DebtorTH Holdco
shall request the Bankruptcy Court at the Confirmation Hearing to deem the Plan accepted by the
holders of such Claims or Interests in such Class.

        3.6     Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy
Code.

        The DebtorsTH Holdco shall seek Confirmation of the Plan pursuant to section
1129(b) of the Bankruptcy Code with respect to any rejecting Class of Claims or Interests. The
Debtors reserveTH Holdco reserves the right to modify the Plan, in accordance with Article
13 hereof to the extent, if any, that Confirmation pursuant to section 1129(b) of the Bankruptcy
Code requires modification, including by modifying the treatment applicable to a Class of Claims
or Interests to render such Class of Claims or Interests Unimpaired to the extent permitted by the
Bankruptcy Code and the Bankruptcy Rules. The Plan constitutes a separate Chapter 11 plan for
each Debtor.

       The classifications set forth in Classes shall be deemed to apply to each Debtor identified,
except that Class 3 shall apply to each of the Debtors. TH Holdco reserves the right to proceed
to seek confirmation with respect to the Plan as to each Debtor separately and to proceed to
confirm the Plan with respect to some but not all of the Debtors.

SECTION 4.              TREATMENT OF CLAIMS AND INTERESTS.

        4.1     85 Flatbush RHO Hotel Other Priority Claims (Class 1).

              (a)  Classification: Class 1 consists of Allowed Other Priority Claims against
85 Flatbush RHO Hotel.

              (b)      Treatment: Except to the extent that a holder of an Allowed Other Priority
Claim against 85 Flatbush RHO Hotel that has agreed to less favorable treatment of such Claim,
each such holder shall receive, in full and final satisfaction of such Claim, Cash from the Plan
Fund allocable to the Hotel Property, in an amount equal to such Claim, payable on the later of
the Closing Date, the date on which such Other Priority Claim becomes an Allowed Other
Priority Claim, or when such claim becomes payable in the ordinary course or as soon as
reasonably practical thereafter.



16US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 17 of 46



               (c)     Voting.: Class 1 is Unimpaired, and the holders of 85 Flatbush RHO
Hotel Other Priority Claims are conclusively presumed to have accepted the Plan pursuant to
section 1126 of the Bankruptcy Code. Therefore, holders of 85 Flatbush RHO Hotel Other
Priority Claims are not entitled to vote to accept or reject the Plan.

        4.2     85 Flatbush RHO Residential Other Priority Claims (Class 2).

              (a)   Classification: Class 12 consists of Allowed Other Priority Claims against
85 Flatbush RHO Residential.

                (b)    Treatment: Except to the extent that a holder of an Allowed Other Priority
Claim against 85 Flatbush RHO Residential that has agreed to less favorable treatment of such
Claim, each such holder shall receive, in full and final satisfaction of such Claim, Cash from the
Plan Fund allocable to the Residential Property, in an amount equal to such Claim, payable on
the later of the Closing Date, the date on which such Other Priority Claim becomes an Allowed
Other Priority Claim, or when such claim becomes payable in the ordinary course or as soon as
reasonably practical thereafter.

               (c)    Voting.: Class 2 is Unimpaired, and the holders of 85 Flatbush RHO
Residential Other Priority Claims are conclusively presumed to have accepted the Plan pursuant
to section 1126 of the Bankruptcy Code. Therefore, holders of 85 Flatbush RHO Residential
Other Priority Claims are not entitled to vote to accept or reject the Plan.

        4.3     85 Flatbush AvenueTH Holdco Secured Claim (Class 3).

               (a)     Classification: Class 3 consists of the 85 Flatbush AvenueTH Holdco
Secured Claim. The 85 Flatbush AvenueTH Holdco Secured Claim is a secured claim
pursuant to the 85 FlatbushTH Holdco Prepetition Loan Agreement, which is secured by the
85 Flatbush AvenueTH Holdco Mortgage and constitutes a first priority security interest on
the Hotel Property and Residential Property. Nothing herein shall prejudice TH Holdco’s rights
under the Intercreditor Agreement and under orders of this Bankruptcy Court.

               (b)      Treatment: The holder of the 85 Flatbush AvenueTH Holdco Secured
Claim shall receive,

                (i)     if the Hotel Property and/or Residential Property is sold to a party other
                        than 85 Flatbush AvenueTH Holdco, Cash in an amount sufficient to
                        satisfy the sum of (1) the Allowed Class 3 Claim, together with all
                        applicable pre-petition and post-petition interest, costs and fees. Pending
                        the Closing of the Sale Transaction, the holder of the classClass 3
                        claimsClaims shall retain its Lien on the Hotel and Residential Property.

                (ii)    If the Hotel and/or Residential Property is sold to 85 Flatbush
                        AvenueTH Holdco pursuant to a bid made by 85 Flatbush
                        AvenueTH Holdco pursuant to section 363(k) of the Bankruptcy Code,
                        then 85 Flatbush AvenueTH Holdco shall receive the Hotel and/or



17US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 18 of 46



                        Residential Property and no further distribution under this
                        Planany further distribution to which is it entitled to on its unsecured
                        deficiency claim, if TH Holdco chooses to assert such unsecured
                        deficiency claim. In any event, TH Holdco preserves all of its rights and
                        claims against all guarantors and non-debtor parties.

                        As part of its credit bid, TH Holdco its nominee or designee, may elect to
                        take title of any of the Properties subject to the existing TH Holdco
                        Mortgage, which TH Holdco Mortgage may be assigned to any such
                        nominee’s or designee’s lender. In the event TH Holdco or its nominee or
                        designee elects to take title to any of the Properties subject to the existing
                        TH Holdco Mortgage, Debtors shall have no further financial obligation to
                        TH Holdco or any assignee of the TH Holdco Mortgage and shall be
                        released from any and all liability to TH Holdco or any assignee with
                        respect to such TH Holdco Mortgage upon the Closing. Nothing herein
                        shall impact TH Holdco’s rights as to any deficiency claim against the
                        Debtors or claims against any guarantors or other non-debtor parties.

                        Pursuant to Section 1146(a) of the Bankruptcy Code, the deeds conveying
                        any of the Properties to TH Holdco or its nominee or designee upon the
                        Effective Date of this Plan and any deeds further conveying any of the
                        Properties by TH Holdco or its nominee or designee within two years
                        following TH Holdco or its nominee or designee taking title to the
                        Properties pursuant to this Plan shall be an instrument of transfer in
                        connection with or in furtherance of the Plan and shall not be subject to
                        tax under any law imposing a Transfer Tax, and, to the extent provided by
                        Section 1146(a) of the Bankruptcy Code, if any, shall not be subject to any
                        state, local or federal law imposing sales tax.

             (c)    Voting. Class 3 is Impaired, and holder of the 85 Flatbush AvenueTH
Holdco Secured Claim in Class 3 is entitled to vote to accept or reject the Plan.

        4.4     Flatbush RHO Hotel Other Secured Claims (Class 4).

                (a)     Classification: Class 4 consists of the 85 Flatbush RHO Hotel Other
Secured Claims. To the extent that 85 Flatbush RHO Hotel Other Secured Claims are secured by
different collateral or different interests in the same collateral, such Claims shall be treated as
separate subclasses of Class 4.

                (b)     Treatment: After payment is made in full to holders of Allowed
Administrative Claims, Allowed Priority Tax Claims, Allowed Fee Claims, and Allowed Claims
in classesClasses 1, 2, and 3, in the event there is a surplus remaining in the Plan Fund, such
surplus shall be paid to Allowed Class 4 and 5 Other Secured Creditors, in accordance with their
statutory priority as follows: except to the extent that a holder of an Allowed 85 Flatbush RHO
Hotel Other Secured Claim against 85 Flatbush RHO Hotel has agreed to less favorable
treatment of such Claim, each holder of an Allowed 85 Flatbush RHO Hotel Other Secured
Claim shall receive, at the option of 85 Flatbush RHO Hotel, (i) payment in full and final


18US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 19 of 46



satisfaction of such Allowed Class 4 Claim, in Cash from the Plan Fund allocable to the Hotel
Property, their pro rata share of the Remaining Plan Fund allocable to the Hotel Property, up to
the amount of such Allowed Claim payable on the later of the Closing Date and the date on
which such 85 Flatbush RHO Hotel Other Secured Claim becomes an Allowed Claim, or as soon
as reasonably practical thereafter, (ii) delivery of the collateral securing such Allowed 85
Flatbush RHO Hotel Other Secured Claim and payment of any interest required under section
506(b) of the Bankruptcy Code, or (iii) such other treatment necessary to satisfy section 1129 of
the Bankruptcy Code.

              (c)    Voting.: Class 4 is Impaired, and the holders of 85 Flatbush RHO Hotel
Other Secured Claims are entitled to vote to accept or reject the Plan.

        4.5     85 Flatbush RHO Residential Other Secured Claims (Class 5).

                (a)    Classification: Class 5 consists of the 85 Flatbush RHO Residential Other
Secured Claims. To the extent that 85 Flatbush RHO Residential Other Secured Claims are
secured by different collateral or different interests in the same collateral, such Claims shall be
treated as separate subclasses of Class 5.

                (b)     Treatment: After payment is made in full to holders of Allowed
Administrative Claims, Allowed Priority Tax Claims, Allowed Fee Claims, and Allowed Claims
in classesClasses 1, 2, and 3, in the event there is a surplus remaining in the Plan Fund, such
surplus shall be paid to Allowed Class 4 and 5 Other Secured Creditors, in accordance with their
statutory priority as follows: except to the extent that a holder of an Allowed 85 Flatbush RHO
Residential Other Secured Claim against 85 Flatbush RHO Residential has agreed to less
favorable treatment of such Claim, each holder of an Allowed 85 Flatbush RHO Residential
Other Secured Claim shall receive, at the option of 85 Flatbush RHO Residential, (i) payment in
full and final satisfaction of such Allowed Class 5 Claim, in Cash from the Plan Fund allocable
to the Residential Property, their pro rata share of the remaining Plan Fund allocable to the
Residential Property up to the amount of such Allowed Claim payable on the later of the Closing
Date and the date on which such 85 Flatbush RHO Residential Other Secured Claim becomes an
Allowed Claim, or as soon as reasonably practical thereafter, (ii) delivery of the collateral
securing such Allowed 85 Flatbush RHO Residential Other Secured Claim and payment of any
interest required under section 506(b) of the Bankruptcy Code, or (iii) such other treatment
necessary to satisfy section 1129 of the Bankruptcy Code.

               (c)    Voting.: Class 5 is impaired, and the holders of 85 Flatbush RHO
Residential Other Secured Claims are entitled to vote to accept or reject the Plan.

        4.6     85 Flatbush RHO Hotel General Unsecured Claims (Class 6).

             (a)    Classification: Class 6 consists of General Unsecured Claims against 85
Flatbush RHO Hotel.

              (b)    Treatment: After payment is made in full to holders of Allowed
Administrative Claims, Allowed Priority Tax Claims, Allowed Fee Claims, and Allowed Claims
in classesClasses 1, 2, 3, 4 and 5, on the Closing Date, or as soon thereafter as is reasonably


19US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 20 of 46



practicable, except to the extent that a holder of an Allowed General Unsecured Claim agrees to
less favorable treatment of such Allowed General Unsecured Claim or has been paid before the
Effective Date, each holder of an Allowed General Unsecured Claim in Classes 6 and 8 shall
receive, in full and final satisfaction of such Claim, their pro rata share of the remaining
Cash from the Plan Fund allocable to the Hotel Property, up to the full amount of their Allowed
Claim and their pro rata share of any TH Holdco Unsecured Creditors Dedicated Fund if TH
Holdco acquires the Hotel through the TH Holdco Credit Bid. In such circumstance, TH Holdco
will also voluntarily further contribute any amount it would receive on its deficiency claim to the
other Class 6 and 8 General Unsecured Claimants which reserving its rights on such deficiency
claim as to all guarantors and all non-debtor parties.

                (c)     Voting.: Class 6 is impaired and holders of General Unsecured Claims in
Class 6 are entitled to vote to accept or reject the Plan.

        4.7     85 Flatbush RHO Hotel Existing Equity Interests (Class 7).

                (a)     Classification: Class 7 consists of Existing Equity Interests in 85 Flatbush
RHO Hotel.

                (b)    Treatment: On the Effective Date, or as soon thereafter as is reasonably
practicable, Equity Interests in the Debtors will be cancelled and holders of Existing Equity
Interests will not receive any recovery on account of their Equity Interests, provided however,
that after payment is made in full to holders of Allowed Administrative Claims, Allowed Priority
Tax Claims, Allowed Fee Claims and Allowed Claims in Classes 1, 2, 3, 4, 5, 6, and 8, and to the
extent there is any remaining cash in the Plan Fund allocable to either the Hotel Property or the
Residential Property for distribution to Class 7 Existing Equity Interests in 85 Flatbush RHO
Hotel and Class 9 Existing Equity Interests in 85 Flatbush RHO Residential, any such funds shall
be contributed by the holders of Existing Equity Interests in 85 Flatbush RHO Hotel and 85
Flatbush RHO Residential to the Plan for distribution on account of the 85 Mezz Flatbush Mezz
Claim.

               (c)      Voting.: Class 7 is impaired by the Plan and is conclusively
presumed to have rejected the Plan pursuant to 1126(g) of the Bankruptcy
Codethe holders of Allowed Existing Equity Interests in 85 Flatbush RHO Hotel are entitled to
vote to accept or reject the Plan.

        4.8     85 Flatbush RHO Residential General Unsecured Claims (Class 8).

             (a)   Classification: Class 8 consists of General Unsecured Claims against 85
Flatbush RHO Residential.

               (b)     Treatment: After payment is made in full to holders of Allowed
Administrative Claims, Allowed Priority Tax Claims, Allowed Fee Claims, and Allowed Claims
in classesClasses 1, 2, 3, 4 and 5, on the Closing Date, or as soon thereafter as is reasonably
practicable, except to the extent that a holder of an Allowed General Unsecured Claim agrees to
less favorable treatment of such Allowed General Unsecured Claim or has been paid before the
Effective Date, each holder of an Allowed General Unsecured Claim in Classes 6 and 8 shall


20US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 21 of 46



receive, in full and final satisfaction of such Claim, their pro rata share of the remaining Cash
from the Plan Fund allocable to the Residential Property, up to the full amount of their
Allowed Claim and their pro rata share of any TH Holdco Unsecured Creditors Dedicated Fund
if TH Holdco acquires the Residential Property through the TH Holdco Credit Bid. In such
circumstance, TH Holdco will also voluntarily further contribute any amount it would receive on
its deficiency claim to the other Class 6 and 8 General Unsecured Claimants which reserving its
rights on such deficiency claim as to all guarantors and all non-debtor parties.

                (c)     Voting.: Class 8 is impaired and holders of General Unsecured Claims in
Class 8 are entitled to vote to accept or reject the Plan.

        4.9     85 Flatbush RHO Residential Existing Equity Interests (Class 9).

            (a)         Classification: Class 9 consists of Existing Equity Interests in 85 Flatbush
RHO Residential.

                (b)    Treatment: On the Effective Date, or as soon thereafter as is reasonably
practicable, Equity Interests in the Debtors will be cancelled and holders of Existing Equity
Interests will not receive any recovery on account of their Equity Interests, provided however,
that after payment is made in full to holders of Allowed Administrative Claims, Allowed Priority
Tax Claims, Allowed Fee Claims and Allowed Claims in Classes 1, 2, 3, 4, 5, 6, and 8, and to the
extent there is any remaining cash in the Plan Fund allocable to either the Hotel Property or the
Residential Property for distribution to Class 7 Existing Equity Interests in 85 Flatbush RHO
Hotel and Class 9 Existing Equity Interests in 85 Flatbush RHO Residential, any such funds shall
be contributed by the holders of Existing Equity Interests in 85 Flatbush RHO Hotel and 85
Flatbush RHO Residential to the Plan for distribution on account of the 85 Mezz Flatbush Mezz
Claim.

                (c)     Voting.: Class 9 is impaired by the Plan and is conclusively
presumed to have rejected the Plan pursuant to 1126(g) of the Bankruptcy
Codethe holders of Allowed Existing Equity Interests in 85 Flatbush RHO Residential are
entitled to vote to accept or reject the Plan.

        4.10 85 Flatbush RHO Mezz Other Priority Claims (Class 10).

              (a)  Classification: Class 10 consists of Allowed Other Priority Claims against
85 Flatbush RHO Mezz.

                (b)     Treatment: After payment is made in full to holders of Allowed
Administrative Claims, Allowed Priority Tax Claims, Allowed Fee Claims and Allowed Claims
in Classes 1, 2, 3, 4, 5, 6, and 8 and to the extent there is any remaining cash in the Plan Fund,
and except to the extent that a holder of an Allowed Other Priority Claim against 85 Flatbush
RHO Mezz has agreed to less favorable treatment of such Claim, each such holder shall receive,
in full and final satisfaction of such Claim, their pro rata share of the remaining Cash from the
Plan Fund, up to the full amount of their Allowed Claim, payable on the later of the Closing
Date, the date on which such Other Priority Claim becomes an Allowed Other Priority Claim, or



21US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 22 of 46



when such claim becomes payable in the ordinary course or as soon as reasonably practical
thereafter.

               (c)   Voting.: Class 10 is impaired, and the holders of Other Priority Claims
against 85 Flatbush RHO Mezz are entitled to vote to accept or reject the Plan.

        4.11 85 Flatbush Mezz Claim (Class 11).

               (a)    Classification: Class 11 consists of the 85 Flatbush Mezz Claim. The 85
Flatbush Mezz Claim is a secured claim pursuant to the 85 Flatbush Mezz Loan Agreement,
which is secured by the 85 Flatbush Hotel Pledge Agreement and 85 Flatbush Residential Pledge
Agreement.

                (b)      Treatment: After payment is made in full to holders of Allowed
Administrative Claims, Allowed Priority Tax Claims, Allowed Fee Claims and Allowed Claims
in Classes 1, 2, 3, 4, 5, 6, 8 and 10 and to the extent there is any remaining cash in the Plan Fund,
the holder of the 85 Flatbush Mezz Claim shall receive, in full and final satisfaction of such
Claim, its pro rata share of the remaining Cash from the Plan Fund up to the full amount of its
Allowed Claim. The 85 Flatbush Mezz Claim shall be subject in all respects to the Intercreditor
Agreement.

             (c)       Voting.: Class 11 is impaired, and holder of the 85 Flatbush Mezz
Secured Claim is entitled to vote to accept or reject the Plan.

        4.12 85 Flatbush RHO Mezz Other Secured Claims (Class 12).

                (a)     Classification: Class 12 consists of the 85 Flatbush RHO Mezz Other
Secured Claims. To the extent that 85 Flatbush RHO Mezz Other Secured Claims are secured by
different collateral or different interests in the same collateral, such Claims shall be treated as
separate subclasses of Class 12.

                (b)     Treatment: After payment is made in full to holders of Allowed
Administrative Claims, Allowed Priority Tax Claims, Allowed Fee Claims, and Allowed Claims
in classesClasses 1, 2, 3, 4, 5, 6, 8, 10 and 11, and to the extent there is any remaining cash in
the Plan Fund, such surplus shall be paid to Allowed Class 12 Other Secured Creditors, in
accordance with their statutory priority as follows: except to the extent that a holder of an
Allowed 85 Flatbush RHO Mezz Other Secured Claim against 85 Flatbush RHO Mezz has
agreed to less favorable treatment of such Claim, each holder of an Allowed 85 Flatbush RHO
Mezz Other Secured Claim shall receive, at the option of 85 Flatbush RHO Mezz, (i) payment in
full and final satisfaction of such Allowed Class 12 Claim, their pro rata share of the remaining
Cash from the Plan Fund up to the amount of such Allowed Claim payable on the later of the
Closing Date and the date on which such 85 Flatbush RHO Mezz Other Secured Claim becomes
an Allowed Claim, or as soon as reasonably practical thereafter, (ii) delivery of the collateral
securing such Allowed 85 Flatbush RHO Mezz Other Secured Claim and payment of any interest
required under section 506(b) of the Bankruptcy Code, or (iii) such other treatment necessary to
satisfy section 1129 of the Bankruptcy Code.




22US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 23 of 46



               (c)   Voting.: Class 12 is impaired, and the holders of Other Secured Claims
against 85 Flatbush RHO Mezz are entitled to vote to accept or reject the Plan.

        4.13 85 Flatbush RHO Mezz General Unsecured Claims (Class 13).

             (a)   Classification: Class 13 consists of General Unsecured Claims against 85
Flatbush RHO Mezz.

                (b)      Treatment: After payment is made in full to holders of Allowed
Administrative Claims, Allowed Priority Tax Claims, Allowed Fee Claims, and Allowed Claims
in classesClasses 1, 2, 3, 4, 5, 6, 8, 10, 11 and 12, in to the extent there is any remaining cash in
the Plan Fund, on the Closing Date and except to the extent that a holder of an Allowed General
Unsecured Claim agrees to less favorable treatment of such Allowed General Unsecured Claim
or has been paid before the Effective Date, each holder of an Allowed General Unsecured Claim
shall receive, in full and final satisfaction of such Claim, its pro rata share of the remaining Cash
from the Plan Fund up to the full amount of their Allowed Claim.

               (c)      Voting.: Class 13 is impaired and holders of General Unsecured Claims in
Class 13 are entitled to vote to accept or reject the Plan

        4.14 85 Flatbush RHO Mezz Existing Equity Interests (Class 14).

             (a)   Classification:       Class 14 consists of Existing Equity Interests in 85
Flatbush RHO Mezz.

                (b)     Treatment: On the Effective Date, or as soon thereafter as is reasonably
practicable, Equity Interests in the Debtors will be cancelled and holders of Existing Equity
Interests will not receive any recovery on account of their Equity Interests, provided however,
that after payment is made in full to holders of Allowed Administrative Claims,
Allowed Priority Tax Claims, Allowed Fee Claims and Allowed Claims in Classes
1, 2, 3, 4, 5, 6, 8, 10, 11, 12 and 13, and to the extent there is any remaining
cash in the Plan Fund for distribution to Class 14 Existing Equity Interests in
85 Flatbush RHO Mezz, any such funds shall be distributed to the holders of
the 85 Flatbush RHO Mezz Existing Equity Interests.

               (c)     Voting : Class 14 is impaired by the Plan, and the holders of the Allowed
Existing Equity Interests in 85 Flatbush RHO Mezz are conclusively presumed to have rejected
the Plan pursuant to section 1126(g) of the Bankruptcy Code.

SECTION 5.              MEANS FOR IMPLEMENTATION.

        5.1     The Plan Fund.

       The Plan Fund shall be funded by the Sale Proceeds, which shall be allocable to the Hotel
Property and the Residential Property as set forth in the Purchase Agreement, and the Debtors’
available Cash on hand from its operations and shall be established upon the Closing Date and
the funds distributed to creditors holding Allowed Claims in accordance with the Plan. Creditor


23US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 24 of 46



distributions to be made separate from or later than the Closing Date shall be made by the
Post-Effective Date Debtors or Debtors’ counsel as the Disbursing Agent under the
Plan.

        Any remaining retainers held by any of the Debtors’ professionals shall be applied to the
fees of such professional as provided in an order of the Bankruptcy Court allowing the fees of
such professional.

       In addition, if TH Holdco acquires the Hotel Property and/or the Residential Property
pursuant to the TH Holdco Credit Bid, TH Holdco shall fund the TH Holdco Unsecured Claim
Dedicated Fund for the sole pro rata benefit of holders of Allowed General Unsecured Claims in
Classes 6 and 8.

        5.2     The Sale

       The Confirmation Order shall authorize and approve the Sale Transaction to the
Purchaser under sections 365, 1123(b)(4), 1129(b)(2)(A)(iii) and 1146(a) of the Bankruptcy
Code. The Auction shall be held promptly after the Confirmation Hearing pursuant to the Sale
and Bid Procedures approved by the Bankruptcy Court.

        5.3     Other Transactions.

       5.3 In the discretion of the Debtors, after the Effective Date, the
Post-Effective Date Debtors may engage in any other transaction in furtherance
of the Plan. Any such transactions may be effective as of the Effective Date
pursuant to the Confirmation Order without any further action by the
members of the Debtors.Intentionally Omitted.

        5.4     Withholding and Reporting Requirements.

                (a)    Withholding Rights.: In connection with the Plan, any party issuing any
instrument or making any distribution described in the Plan shall comply with all applicable
withholding and reporting requirements imposed by any federal, state, or local taxing authority,
and all distributions pursuant to the Plan and all related agreements shall be subject to any such
withholding or reporting requirements. Notwithstanding the foregoing, each holder of an
Allowed Claim or any other Person that receives a distribution pursuant to the Plan shall have
responsibility for any taxes imposed by any Governmental Unit, including, without limitation,
income, withholding, and other taxes, on account of such distribution. Any party issuing any
instrument or making any distribution pursuant to the Plan has the right, but not the obligation, to
not make a distribution until such holder has made arrangements satisfactory to such issuing or
disbursing party for payment of any such tax obligations.

               (b)    Forms.: Any party entitled to receive any property as an issuance or
distribution under the Plan shall, upon request, deliver to the Disbursing Agent or such other
Person designated by the Post-Effective Date Debtors (which entity shall subsequently deliver to
the Disbursing Agent any applicable IRS Form W-8 or Form W-9 received) an appropriate Form
W-9 or (if the payee is a foreign Person) Form W-8, unless such Person is exempt under the tax


24US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 25 of 46



Code and so notifies the Disbursing Agent. If such request is made by the Post-Effective
Date DebtorsTH Holdco or such other Person designated by the Post-Effective Date
DebtorsTH Holdco and the holder fails to comply before the date that is 180 days after the
request is made, the amount of such distribution shall irrevocably revert to the DebtorsTH
Holdco and any Claim in respect of such distribution shall be discharged and forever barred from
assertion against any Debtor, TH Holdco and its respective property.

        5.5     Exemption From Certain Transfer Taxes.

        To the maximum extent provided by section 1146(a) of the Bankruptcy Code, the
issuance, transfer, or exchange of any security and the making or delivery of any instrument of
transfer under this Plan as confirmed by the Court, (including an instrument of transfer executed
in furtherance of the Sale Transaction contemplated by the Plan), shall not be subject to tax under
any law imposing a stamp tax, real estate transfer tax, mortgage recording tax or
similar taxTransfer Tax due on the sale of the Hotel Property and/or Residential Property in
connection with or in furtherance of the Plan as confirmed by the Bankruptcy Court and the
funding requirements contained herein and shall not be subject to any state, local or federal law
imposing such tax and the appropriate state or local government officials or agents shall forego
collection of any such tax or governmental assessment and accept for filing and recordation any
of the foregoing instruments or other documents without the payment of any such tax or
governmental assessment.

        Pursuant to Section 1146(a) of the Bankruptcy Code, the deeds conveying any of the
Properties to TH Holdco or its nominee or designee upon the Effective Date of this Plan and any
deeds further conveying any of the Properties by TH Holdco or its nominee or designee within
two years following TH Holdco or its nominee or designee taking title to any of the Properties
pursuant to this Plan shall be an instrument of transfer in connection with or in furtherance of the
Plan and shall not be subject to tax under any law imposing a Transfer Tax, and, to the extent
provided by Section 1146(a) of the Bankruptcy Code, if any, shall not be subject to any state,
local or federal law imposing sales tax.

        5.6     Effectuating Documents; Further Transactions.

       On and after the Effective Date, TH Holdco on behalf of the Post-Effective Date
Debtors areand the Estates is authorized to and may issue, execute, deliver, file or record such
contracts, securities, instruments, releases, and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate, implement and further evidence the
terms and conditions of the Plan in the name of and on behalf of the Debtors and the Estates,
without the need for any approvals, authorization, or consents except for those expressly required
pursuant to the Plan.




25US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 26 of 46




        5.7     Preservation of RightsAvoidance Actions and Other Causes of Action.

       Other thanAll Avoidance Actions and other Causes of Action against an Entity that
areshall be waived, relinquished, exculpated, released, compromised, or settled inunder the Plan
or by a Bankruptcy Court order, the Debtors reserve any and all Causes of Action.
On and after the Effective Date, the Post-Effective Date Debtors may pursue
such Causes of Action in their sole discretion. No Entity may rely on the
absence of a specific reference in the Plan, the Plan Supplement, or the
Disclosure Statement to any Cause of Action against them as any indication
that the Debtors or the Post-Effective Date Debtors will not pursue any and all
available Causes of Action against them. No preclusion doctrine, including the
doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion
(judicial, equitable, or otherwise), or laches, shall apply to such Causes of
Action upon, after, or as a consequence of the Confirmation or consummation
of the Sale Transaction. Prior to the Effective Date, the Debtors, and on and
after the Effective Date, the Post-Effective Date Debtors, shall retain and shall
have, including through their authorized agents or representatives, the
exclusive right, authority, and discretion to determine and to initiate, file,
prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate
to judgment any such Causes of Action and to decline to do any of the
foregoing without the consent or approval of any third party or further notice to
or action, order, or approval of the Bankruptcy Court. Notwithstanding
anything contained herein to the contrary, the settlement of any Claims and
Causes of Action which are expressly to be settled byunless otherwise expressly
preserved in the Confirmation of the Plan itself shall be resolved only by
Confirmation of the Plan itselfOrder.

        5.8     Closing of the Chapter 11 Cases.

       After any of the Chapter 11 Cases of the Debtors have been fully administered, the
Debtors or TH Holdco shall promptly seek authority from the Bankruptcy Court to close such
applicable Chapter 11 CasesCase in accordance with the Bankruptcy Code and the Bankruptcy
Rules.

SECTION 6.              GOVERNANCE.

        6.1     Wind Down and Post-Effective Date Management.

      After the Effective Date, the Debtors shall be designated the
Post-Effective Date Debtors who shall continue to be managed by GC Realty
Advisors, who held such position on the Commencement Date. GC Realty
Advisors shall continue to serve as the Manager of the Debtors and the




26US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 27 of 46



Post-Effective Date Debtors until the next annual meeting, upon the removal or
resignation of such manager or until such time as the Debtors are dissolved.

       The Debtors shall be dissolved promptly after the Effective Date. The Disbursing Agent
shall hold any funds for any Disputed Claims or other winddown expenses not yet paid or
pre-paid.

        6.2     Limited Liability Company FormIntentionally Omitted.

      On the Effective Date, the Debtors shall maintain their current entity
form as Delaware limited liability entities.

        6.3     Limited Liability Company Existence.Intentionally Omitted.

       After the Effective Date, the Post-Effective Date Debtors may decide to (a)
maintain the Debtors as limited liability companies in good standing until such
time as all aspects of the Plan pertaining to the Debtors have been completed,
or (b) at such time as the Post-Effective Date Debtors consider appropriate and
consistent with the implementation of the Plan pertaining to the Debtors,
dissolve the Debtors and complete the winding up of such Debtors without the
necessity for any other or further actions to be taken by or on behalf of the
Debtors or their members or any payments to be made in connection therewith
subject to the filing of a certificate of dissolution with the appropriate
governmental authorities.

        6.4     Certificate of Organization and By-Laws.

      6.4 As of the Effective Date, only if necessary, the certificate of
organization and by-laws of the Debtors shall be amended to the extent
necessary to carry out the provisions of the Plan.Intentionally Omitted.

SECTION 7.              DISTRIBUTIONS.

        7.1     Distribution Record Date.

        As of the close of business on the Distribution Record Date, the transfer register for each
of the Classes of Claims or Interests as maintained by the DebtorsBankruptcy Court shall be
deemed closed, and there shall be no further changes in the record of holders of any of the
Claims or Interests. The DebtorsDisbursing Agent shall have no obligation to recognize any
transfer of the Claims or Interests occurring on or after the Distribution Record Date.

        7.2     Date of Distributions

       Except as otherwise provided herein, and other than the distributions to be made at the
Closing of the Sale Transaction, the Post-Effective Date Debtors or the Disbursing Agent
shall make all distributions to Holders of Allowed Claims as set forth in the Plan. In the event



27US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 28 of 46



that any payment or act under the Plan is required to be made or performed on a date that is not a
Business Day, then the making of such payment or the performance of such act may be
completed on or as soon as reasonably practicable after the next succeeding Business Day, but
shall be deemed to have been completed as of the required date.

       The DebtorsDisbursing Agent shall reserve an amount sufficient to pay holders of
Disputed Claims the amount such holders would be entitled to receive under the Plan if such
Claims were to become Allowed Claims, unless otherwise ordered by the Bankruptcy Court. In
the event the holders of Allowed Claims have not received payment in full on account of their
Claims after the resolution of all Disputed Claims, then the Post-Effective Date
DebtorsDisbursing Agent shall make a final pro rata distribution to all holders of Allowed
Claims.

        Notwithstanding anything to the contrary in the Plan, no holder of an Allowed Claim
shall, on account of such Allowed Claim, receive a distribution in excess of the Allowed amount
of such Claim plus any interest accruing on such Claim that is actually payable in accordance
with the Plan.

        7.3     Delivery of Distributions.

        In the event that any distribution to any holder is returned as undeliverable, no
distribution to such holder shall be made unless and until the Debtors haveDisbursing Agent
has determined the then current address of such holder, at which time such distribution shall be
made to such holder without Interest; provided, however, such distributions shall be deemed
unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of six months
from the date the distribution is made. After such date, all unclaimed property or interests in
property shall revert (notwithstanding any applicable federal or state escheat, abandoned, or
unclaimed property laws to the contrary) to the DebtorsTH Holdco automatically and without
need for a further order by the Bankruptcy Court for distribution in accordance with the Plan and
the Claim of any such holder to such property or interest in property shall be released, settled,
compromised, and forever barred. TheNeither the Debtors, TH Holdco nor the Disbursing
Agent shall have noany obligation to locate the current address for a returned distribution.

        7.4     Manner of Payment Under Plan.

      At the option of the DebtorsDisbursing Agent, any Cash payment to be made hereunder
may be made by a check or wire transfer.

        7.5     Minimum Cash Distributions.

        The DebtorsDisbursing Agent shall not be required to make any payment to any holder
of an Allowed Claim on any Distribution Date of Cash less than $100; provided, however, that if
any distribution is not made pursuant to this Section 7.5, such distribution shall be added to any
subsequent distribution to be made on behalf of the holder’s Allowed Claim. The
DebtorsDisbursing Agent shall not be required to make any final distributions of Cash less than
$50 to any holder of an Allowed Claim. If either (a) all Allowed Claims (other than those whose
distributions are deemed undeliverable hereunder) have been paid in full or (b) the amount of any


28US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 29 of 46



final distributions to holders of Allowed Claims would be $50 or less and the aggregate amount
of Cash available for distributions to holders of Allowed General Unsecured Claims is less than
$2,500, then no further distribution shall be made by the Post-Effective Date
DebtorsDisbursing Agent and any surplus Cash shall be utilized to pay down any unpaid legal
fees incurred by Debtors’ counsel to the Disbursing Agent post-confirmation.

        7.6     Setoffs.

        The DebtorsEstates through the Disbursing Agent may, but shall not be required to, set
off against any Claim, any Claims of any nature whatsoever that the DebtorsEstates may have
against the holder of such Claim; provided that neither the failure to do so nor the allowance of
any Claim hereunder shall constitute a waiver or release by the Debtors of any such Claim the
Debtors may have against the holder of such Claim. Nothing herein shall impact the TH Holdco
Credit Bid.

        7.7     Distributions After Effective Date.

      Distributions made after the Effective Date to holders of Disputed Claims that are not
Allowed Claims as of the Effective Date but which later become Allowed Claims shall be
deemed to have been made on the Effective Date.

        7.8     Allocation of Distributions Between Principal and Interest.

        Except as otherwise provided in this Plan, to the extent that any Allowed Claim entitled
to a distribution under the Plan is comprised of indebtedness and accrued but unpaid interest
thereon, such distribution shall be allocated to the accrued but unpaid interest first and then to
principal amount (each as determined for U.S. federal income tax purposes) of the Claim
first, and then to accrued but unpaid interest.

        7.9     Payment of Disputed Claims.

       As Disputed Claims are resolved pursuant to Section 8 hereof, the Post-Effective Date
DebtorsDisbursing Agent shall make distributions on account of such Disputed Claims as if
such Disputed Claims were Allowed Claims as of the Effective Date. Such distributions shall be
made on the first Distribution Date that is at least forty-five (45) days after the date on which a
Disputed Claim becomes an Allowed Claim, or on an earlier date selected by the
DebtorsDisbursing Agent in the Debtors’its sole discretion.

SECTION 8.              PROCEDURES FOR DISPUTED CLAIMS.

        8.1     Allowance of Claims.

        After the Effective Date, the Debtors and TH Holdco shall have and shall retain any and
all rights and defenses that the Debtors had with respect to any Disputed Claim, except with
respect to any Claim deemed Allowed under this Plan. Except as expressly provided in this Plan
or in any order entered in the Chapter 11 Cases prior to the Effective Date (including, without
limitation, the Confirmation Order), no Claim shall become an Allowed Claim unless and until


29US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 30 of 46



such Claim is deemed under this Plan or the Bankruptcy Code or the Bankruptcy Court has
entered a Final Order, including, without limitation, the Confirmation Order, in the Chapter 11
Cases allowing such Claim. Nothing herein shall impact the TH Holdco Credit Bid and TH
Holdco’s rights under orders of this Bankruptcy Court or the Intercreditor Agreement.

        8.2     Objections to Claims.

        As of the Effective Date, objections to and requests for estimation of, Claims against the
Debtors may be interposed and prosecuted only by the Debtors or TH Holdco. Such objections
and requests for estimation shall be served and filed (a) on or before the 12060th day following
the later of (i) the Effective Date and (ii) the date that a proof of Claim is filed or amended or a
Claim is otherwise asserted or amended in writing by or on behalf of a holder of such Claim, or
(b) such later date as ordered by the Bankruptcy Court upon motion filed by the Debtors or TH
Holdco. Nothing herein shall impact the TH Holdco Credit Bid and TH Holdco’s rights under
orders of this Bankruptcy Court or the Intercreditor Agreement.

        8.3     Estimation of Claims.

        The Debtors or TH Holdco may at any time request that the Bankruptcy Court estimate
any contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of the Bankruptcy
Code regardless of whether the Debtor or Post-Effective Date DebtorsTH Holdco
previously objected to such Claim or whether the Bankruptcy Court has ruled on any such
objection, and the Bankruptcy Court will retain jurisdiction to estimate any Claim at any time
during litigation concerning any objection to any Claim, including, without limitation, during the
pendency of any appeal relating to any such objection. In the event that the Bankruptcy Court
estimates any contingent, unliquidated, or Disputed Claim, the amount so estimated shall
constitute either the Allowed amount of such Claim or a maximum limitation on such Claim, as
determined by the Bankruptcy Court. If the estimated amount constitutes a maximum limitation
on the amount of such Claim, the Debtor or Post-Effective Date DebtorsTH Holdco, as
applicable, may pursue supplementary proceedings to object to the allowance of such Claim. All
of the aforementioned objection, estimation and resolution procedures are intended to be
cumulative and not exclusive of one another. Claims may be estimated and subsequently
compromised, settled, withdrawn, or resolved by any mechanism approved by the Bankruptcy
Court. Nothing herein shall impact the TH Holdco Credit Bid and TH Holdco’s rights under
orders of this Bankruptcy Court or the Intercreditor Agreement.

        8.4     No Distributions Pending Allowance.

       If an objection to a Claim is filed as set forth in Section 8, no payment or distribution
provided under the Plan shall be made on account of such Claim unless and until such Disputed
Claim becomes an Allowed Claim. Nothing herein shall impact the TH Holdco Credit Bid and
TH Holdco’s rights under orders of this Bankruptcy Court or the Intercreditor Agreement.

        8.5     Resolution of Claims.

       Except as otherwise provided herein, or in any contract, instrument, release, indenture, or
other agreement or document entered into in connection with this Plan, in accordance with


30US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 31 of 46



section 1123(b) of the Bankruptcy Code, the Debtors or TH Holdco shall retain and may enforce,
sue on, settle, or compromise (or decline to do any of the foregoing) all Claims, Disputed Claims,
rights, Causes of Action (to the extent preserved under the Confirmation Order and this Plan),
suits and proceedings, whether in law or in equity, whether known or unknown, that the Debtor
or their estates may hold against any Person, without the approval of the Bankruptcy Court, the
Confirmation Order, and any contract, instrument, release, indenture, or other agreement entered
into in connection herewith. The Debtors, TH Holdco or their successor may pursue such
retained Claims, rights, Causes of Action (to the extent preserved in the Confirmation Order),
suits or proceedings, as appropriate, in accordance with the best interests of the DebtorsEstates.

        8.6     Disallowed Claims.

        All Claims held by persons or entities against whom or which any of the Debtor or the
Post-Effective Date DebtorsTH Holdco has commenced a proceeding asserting a Cause of
Action under sections 542, 543, 544, 545, 547, 548, 549 and/or 550 of the Bankruptcy Code shall
be deemed “disallowed” Claims pursuant to section 502(d) of the Bankruptcy Code and holders
of such Claims shall not be entitled to vote to accept or reject the Plan. Claims that are deemed
disallowed pursuant to this section shall continue to be disallowed for all purposes until the
Avoidance Action against such party has been settled or resolved by Final Order and any sums
due to the Debtor or the Post-Effective Date DebtorsTH Holdco from such party have been
paid. Nothing herein shall impact the TH Holdco Credit Bid and TH Holdco’s rights under
orders of this Bankruptcy Court or the Intercreditor Agreement.

SECTION 9.              EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

        9.1     Assumption and Assignment of Executory Contracts and Unexpired Leases

       On the Effective Date, except as otherwise provided in the Plan, each Executory Contract
and Unexpired Lease not previously rejected, assumed, or assumed and assigned shall be deemed
automatically assumedrejected pursuant to sections 365 and 1123 of the Bankruptcy Code,
and assigned to the Purchaser of the Hotel and Residential Property unless such
Executory Contract or Unexpired Lease: (1) is specifically described in the Purchase Agreement
as being rejectedassumed or assumed and assigned to Purchaser in connection with
Confirmation of the Plan or under the Purchase Agreement; (2) as of the Effective Date is subject
to a pending motion to rejectassume such Unexpired Lease or Executory Contract; (3) was
previously assumed or assumed and assigned to a third party during the pendency of the Chapter
11 Cases; or (4) is a contract, instrument, release, indenture, or other agreement or document
entered into in connection with the Plan. Notice of any Executory Contract or Unexpired Lease
being assumed, assumed and assigned or rejected pursuant to the Plan shall be provided to the
applicable contract counter party or lessor pursuant to the provisions in the Confirmation Order.

        9.2     Cure of Defaults for Assumed Executory Contracts and Unexpired Leases

       Any Cure Obligation due under each Executory Contract and Unexpired Lease to be
assumed pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy
Code, by payment in Cash on the Closing Date, subject to the limitation described below, by the



31US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 32 of 46



Debtor as an Administrative Claim or by the Purchaser, as applicable, or on such other terms as
the parties to such Executory Contracts or Unexpired Leases may otherwise agree.

        In the event of a dispute regarding (1) the amount of the Cure Obligation, (2) the ability
of the Debtors’ Estates or any assignee to provide “adequate assurance of future performance”
(within the meaning of section 365 of the Bankruptcy Code) under the Executory Contract or
Unexpired Lease to be assumed, or (3) any other matter pertaining to assumption, the Cure
Obligations required by section 365(b)(1) of the Bankruptcy Code shall be satisfied following the
entry of a Final Order or orders resolving the dispute and approving the assumption; provided
that, depending on whether the Post-Effective Date DebtorsDisbursing Agent or the
Purchaser has the obligation to pay the Cure Obligation, such party may settle any dispute
regarding the amount of any Cure Obligation without any further notice to any party or any
action, order, or approval of the Bankruptcy Court.

        At least fourteen (14) days before the Confirmation Hearing, the Debtors or TH Holdco
shall cause notice of proposed Cure Obligations to be sent to applicable counterparties to the
Executory Contracts and Unexpired Leases. Any objection by such counterparty must be filed,
served, and actually received by the Debtors and TH Holdco not later than ten (10) days after
service of notice of the Debtors’ proposed assumption and associated Cure Obligation. Any
counterparty to an Executory Contract or Unexpired Lease that fails to object timely to the
proposed cure amount will be deemed to have assented to such Cure Obligation and waived any
objections to such assumption and assignment.

        Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan, or
otherwise, shall result in the full release and satisfaction of any Claims or defaults, subject to
satisfaction of the Cure Obligations, whether monetary or nonmonetary, including defaults of
provisions restricting the change in control or ownership interest composition or other
bankruptcy-related defaults, arising under any assumed Executory Contract or Unexpired Lease
at any time before the Effective Date of assumption and/or assignment. Any prepetition default
amount set forth in the Schedules and/or any Proofs of Claim filed with respect to an Executory
Contract or Unexpired Lease that has been assumed and assigned shall be deemed disallowed
and expunged, without further notice to or action, order, or approval of the Bankruptcy Court or
any other Entity.

        9.3     Claims Based on Rejection of Executory Contracts and Unexpired Leases

        Unless otherwise provided by an order of the Bankruptcy Court, any Proofs of Claim
based on the rejection of the Debtors’ Executory Contracts or Unexpired Leases pursuant to the
Plan or otherwise, must be filed with Bankruptcy Court and served on the Debtors and TH
Holdco no later than fourteen (14) days after the earlier of the Effective Date or the effective date
of rejection of such Executory Contract or Unexpired Lease. In addition, any objection to the
rejection of an Executory Contract or Unexpired Lease must be filed with the Bankruptcy Court
and served on the Debtors, no later than fourteen (14) days after service of the Debtors’
proposed rejection of such Executory Contract or Unexpired Lease.

      Any holders of Claims arising from the rejection of an Executory Contract or
Unexpired Lease for which Proofs of Claims were not timely filed as set forth in the


32US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 33 of 46



paragraph above shall not (1) be treated as a creditor with respect to such Claim, (2) be
permitted to vote to accept or reject the Plan on account of any Claim arising from such
rejection, or (3) participate in any distribution in the Chapter 11 Cases on account of such
Claim, and any Claims arising from the rejection of an Executory Contract or Unexpired
Lease not filed with the Bankruptcy Court within such time will be automatically
disallowed, forever barred from assertion, and shall not be enforceable against the Debtors,
the Debtors’ Estate, TH Holdco, the Purchaser or the Hotel Property or Residential
Property for any of the foregoing without the need for any objection by the Debtors or TH
Holdco further notice to, or action, order, or approval of the Bankruptcy Court or any
other Entity, and any Claim arising out of the rejection of the Executory Contract or
Unexpired Lease shall be deemed fully compromised, settled, and released,
notwithstanding anything in the Schedules or a Proof of Claim to the contrary. All
Allowed Claims arising from the rejection of the Debtors’ prepetition Executory Contracts or
prepetition Unexpired Leases shall be classified as General Unsecured Claims, except as
otherwise provided by order of the Bankruptcy Court.

        9.4     Purchase Agreement

        The Debtors’ assumption or rejection of any Executory Contract or Unexpired Lease
pursuant to the Plan shall be subject in all respects to Purchaser’s rights and obligations,
including any Cure Obligations assumed by it in accordance with the Purchase Agreement, with
respect to any such Executory Contracts or Unexpired Leases assigned Purchaser pursuant to the
terms of the Purchase Agreement.

        9.5     Modifications, Amendments, Supplements, Restatements, or Other Agreements

        Unless otherwise provided in the Plan, each assumed Executory Contract or Unexpired
Lease shall include all modifications, amendments, supplements, restatements, or other
agreements that in any manner affect such Executory Contract or Unexpired Lease, and all
Executory Contracts and Unexpired Leases related thereto, if any, including all easements,
licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other
interests, unless any of the foregoing agreements has been previously rejected or repudiated or is
rejected or repudiated under the Plan.

       Modifications, amendments, supplements, and restatements to prepetition Executory
Contracts and Unexpired Leases that have been executed by the Debtors during the Chapter 11
Cases shall not be deemed to alter the prepetition nature of the Executory Contract or Unexpired
Lease, or the validity, priority, or amount of any Claims that may arise in connection therewith.

        9.6     Reservation of Rights

       Neither the exclusion nor inclusion of any contract or lease in the Plan Supplement, nor
anything contained in the Plan, shall constitute an admission by the Debtors or TH Holdco that
any such contract or lease is in fact an Executory Contract or Unexpired Lease or that the
Debtors’ Estates have any liability thereunder. In the event of a dispute regarding whether a
contract or lease is or was executory or unexpired at the time of assumption or rejection, the
Debtors or the Post-Effective Date DebtorsTH Holdco, shall have 60 days following entry


33US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 34 of 46



of a Final Order resolving such dispute to alter the treatment of such contract or lease as
otherwise provided in the Plan.

SECTION 10.             CONDITIONS PRECEDENT TO THE CONFIRMATION
                        HEARING AND THE EFFECTIVE DATE.

        10.1 Condition to the Confirmation Hearing

       The occurrence of the Confirmation Hearing is subject to the following condition
precedent:

               (a)    The Purchase Agreement shall have been fully executed and the deposit
required under the Purchase Agreement funded and placed in escrow.

               (b)     The form of Confirmation Order shall be acceptable to TH Holdco in its
reasonable discretion.

        10.2 Conditions Precedent to the Effective Date.

       The occurrence of the Effective Date of the Plan is subject to the following conditions
precedent:

             (a)    the Bankruptcy Court shall have entered the Confirmation Order, the
Confirmation Date shall have occurred and the Confirmation Order shall not be subject to any
stay;

                (b)  Debtors or TH Holdco shall have transferred to Debtors’ counsel, for
deposit into its escrow account,the Disbursing Agent within three (3) days from the entry
of the Confirmation Order, the operating funds necessary to fund the Plan Fund pursuant to the
terms of this Plan;

              (c)     all actions, documents and agreements necessary to implement and
consummate the Plan, including, without limitation, entry into the documents contained in the
Plan Supplement required to be executed prior to the Confirmation Date, each in form and
substance reasonably satisfactory to the Debtor and Purchaser, and the transactions and other
matters contemplated thereby, shall have been effected or executed;

                (d)     all governmental and third-party approvals and consents, including
Bankruptcy Court approval, necessary in connection with the transactions contemplated by the
Plan, if any, shall be in full force and effect, and all applicable waiting periods shall have expired
without any action being taken or threatened by any competent authority that would restrain,
prevent or otherwise impose materially adverse conditions on such transactions;

               (e)    the Sale Transaction shall have closed as to both the Hotel Property and
the Residential Property; and

                (f)   (e) all documents and agreements necessary to implement the Plan shall
have (i) been tendered for delivery and (ii) been effected or executed by all Entities party thereto,


34US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 35 of 46



and all conditions precedent to the effectiveness of such documents and agreements shall have
been satisfied or waived pursuant to the terms of such documents or agreements.

        10.3 Waiver of Conditions Precedent.

       Each of the conditions precedent to the Effective Date in Section 10.2 other than the
condition set forth in section 10.2(a) may be waived in writing by the DebtorsTH Holdco.

        10.4 Effect of Failure of Conditions to Effective Date.

        If the Confirmation Order is vacated due to a failure of a condition to the Effective Date
to occur, (i) no distributions under the Plan shall be made; (ii) the Debtor and all holders of
Claims and Interests shall be restored to the status quo ante as of the day immediately preceding
the Confirmation Date as though the Confirmation Date ever occurred; and (iii) all monies
contributed to the Plan Fund by Debtors shall be returned to DebtorsTH Holdco within three
(3) business days of the Confirmation Order being vacated.

SECTION 11.             EFFECT OF CONFIRMATION.

        11.1 Vesting of Assets.

        On the Closing Date, pursuant to sections 1141(b) and (c) of the Bankruptcy Code, and as
set forth in the Purchase Agreement, all property of the Debtors’ Estates shall vest in the
Purchaser free and clear of all Claims, liens, encumbrances, charges and other interests, except as
provided pursuant to this Plan and the Confirmation Order.

        11.2 Release of Liens.

        Except as otherwise provided in the Plan or in any contract, instrument, release, or other
agreement or document created pursuant to the Plan, on the Closing e Date, all mortgages, deeds
of trust, Liens, pledges, or other security interests against any property of the Estates shall be
fully released, settled, and compromised and all rights, titles, and interests of any holder of such
mortgages, deeds of trust, Liens, pledges, or other security interests against any property of the
Estates shall revert to the DebtorsTH Holdco, unless sold to the Purchaser pursuant to the Sale
Transaction, provided however, that the Lien securing the 85 Flatbush AvenueTH Holdco
Secured Class 23 Claim shall not be deemed released until the 85 Flatbush AvenueTH
Holdco Secured Class 23 Claim has been paid in full, from the proceeds of the Sale Transaction
(or the TH Holdco Credit Bid) in accordance with the terms of this Plan.

        As part of its credit bid, TH Holdco its nominee or designee, may elect to take title of any
of the Properties subject to the existing TH Holdco Mortgage, which TH Holdco Mortgage may
be assigned to any such nominee’s or designee’s lender. In the event TH Holdco or its nominee
or designee elects to take title to any of the Properties subject to the existing TH Holdco
Mortgage, Debtors shall have no further financial obligation to TH Holdco or any assignee of the
TH Holdco Mortgage and shall be released from any and all liability to TH Holdco or any
assignee with respect to such TH Holdco Mortgage upon the Closing. Nothing herein shall




35US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 36 of 46



impact TH Holdco’s rights as to any deficiency claim against the Debtors or claims against any
guarantors or other non-debtor parties.

        11.3 Subordinated Claims.

        The allowance, classification, and treatment of all Allowed Claims and Interests and the
respective distributions and treatments under the Plan take into account and conform to the
relative priority and rights of the Claims and Interests in each Class in connection with any
contractual, legal, and equitable subordination rights relating thereto, whether arising under
general principles of equitable subordination, section 510(b) of the Bankruptcy Code, or
otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors reserve the right for the
Post-Effective Date DebtorsTH Holdco to re-classify any Allowed Claim or Interest in
accordance with any contractual, legal, or equitable subordination relating thereto.

        11.4 Binding Effect.

        Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code and subject
to the occurrence of the Effective Date, on and after the Effective Date, the provisions of the Plan
shall bind any holder of a Claim against, or Interest in, the Debtor, and such holder’s respective
successors and assigns, whether or not the Claim or Interest of such holder is Impaired under the
Plan and whether or not such holder has accepted the Plan.

      11.5 Discharge of Claims and Termination of Interests.Intentionally
Omitted.

       Except as otherwise provided in the Plan, effective as of the Closing Date:
(a) the rights afforded in the Plan and the treatment of all Claims and Interests
shall be in exchange for and in complete satisfaction, discharge and release of
all Claims and Interests of any nature whatsoever, including any interest
accrued on such Claims from and after the Petition Date, against the Debtor or
any of their assets, property or Estates; (b) all Claims and Interests shall be
satisfied, discharged and released in full, and the Debtor’s liability with respect
thereto shall be extinguished completely, including any liability of the kind
specified under section 502(g) of the Bankruptcy Code; and (c) all Entities shall
be precluded from asserting against the Debtors, the Debtors’ Estates, the
Purchaser, their successors and assigns and their assets and properties any
other Claims or Interests based upon any documents, instruments or any act
or omission, transaction or other activity of any kind or nature that occurred
before the Effective Date.



        11.6 Term of Injunctions or Stays.

       Unless otherwise provided, all injunctions or stays arising under or entered during the
Chapter 11 Cases under section 105 or 362 of the Bankruptcy Code, or otherwise, and in


36US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 37 of 46



existence on the Confirmation Date, shall remain in full force and effect until the later of the
Effective Date and the date indicated in the order providing for such injunction or stay.

        11.7 Plan Injunction.

        Except (i) as otherwise provided under Final Order entered by the Bankruptcy Court or
(ii) with respect to the Debtors’ obligations under the Plan, the entry of the Confirmation Order
shall forever stay, restrain and permanently enjoin with respect to any Claim held against the
Debtors as of the date of entry of the Confirmation Order (i) the commencement or continuation
of any action, the employment of process, or any act to collect, enforce, attach, recover or offset
from the Debtors, from the Hotel Property or Residential Property, or from property of the
Estates that has been or is to be distributed under the Plan, and (ii) the creation, perfection or
enforcement of any lien or encumbrance against the Hotel Property or Residential Property and
any property of the Estates that has been or is to be, distributed under the Plan. Except as
otherwise provided in the Confirmation Order, the entry of the Confirmation Order shall
constitute an injunction against the commencement or continuation of any action, the
employment of process, or any act to collect, recover or offset from the Debtors, from the Hotel
Property or Residential Property, or from property of the Estates, any claim, any obligation or
debt that was held against the Debtors by any person or entity as of the Confirmation Date except
pursuant to the terms of this Plan. The entry of the Confirmation Order shall permanently enjoin
all Creditors, their successors and assigns, from enforcing or seeking to enforce any such Claims.
Nothing herein shall impact TH Holdco’s right to pursue claims against guarantors or other
non-debtor parties.

        11.8 Limitation of Liability

        To the extent permitted under Section 1125(e) of the Bankruptcy Code, neither the
Exculpated Parties nor any of their respective officers, directors, or employees (acting in such
capacity) nor any professional person employed by any of them, shall have or incur any liability
to any entity for any action taken or omitted to be taken in connection with or related to the
formulation, preparation, dissemination, Confirmation or consummation of the Plan, the
Disclosure Statement, the Plan Supplement or the any contract, instrument, release or other
agreement or document created or entered into, or any other action taken or omitted to be taken
in connection with the Plan, provided that each Exculpated Party shall be entitled to rely upon the
advice of counsel concerning his, her, or its duties pursuant to, or in connection with, the Plan or
any other related document, instrument, or agreement, except in the case of fraud, gross
negligence, willful misconduct, malpractice, breach of fiduciary duty, criminal conduct,
unauthorized use of confidential information that causes damages, or ultra vires acts. Nothing in
this Section 11.8 shall limit the liability of the Debtors’ professionals pursuant to Rule 1.8 (h)(1)
of the New York State Rules of Professional Conduct. Nothing in the Plan or the confirmation
order shall effect a release of any claim by the United States Government or any of its agencies or
any state and local authority whatsoever, including, without limitation, any claim arising under
the Internal Revenue Code, the environmental laws or any criminal laws of the United States or
any state and local authority against the Debtors or any of its respective members, shareholders,
officers, directors, employees, attorneys, advisors, agents, representatives and assigns, nor shall
anything in the Plan enjoin the United States or any state or local authority from bringing any
claim, suit, action or other proceedings against the Debtors or any of its respective members,


37US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 38 of 46



officers, directors, employees, attorneys, advisors, agents, representatives and assigns for any
liability whatever, including without limitation, any claim, suit or action arising under the
Internal Revenue Code, the environmental laws or any criminal laws of the United States or any
state or local authority, nor shall anything in this Plan exculpate Debtors or any of its respective
members, officers, directors, employees, attorneys, advisors, agents, representatives and assigns
from any liability to the United States Government or any of its agencies or any state and local
authority whatsoever, including liabilities arising under the Internal Revenue Code, the
environmental laws or any criminal laws of the United States or any state and local authority.

        11.9 ReleaseIntentionally Omitted

       Except as otherwise provided in the Plan, upon the Effective Date, in
consideration of the Cash and other property to be distributed to or on behalf
of the holders of Claims and Interests under the Plan, the Plan shall be deemed
to resolve all disputes and constitute a settlement and release, between and
among the Debtors, on the one hand, and each Creditor and Interest Holder,
on the other, from any claim or liability, whether legal, equitable, contractual,
secured, unsecured, liquidated, unliquidated, disputed, undisputed, matured,
unmatured, fixed or contingent, known or unknown, that the Debtors, their
Creditors or Interest Holders ever had or now have through the Effective Date
in connection with their Claim or Interest (including, without limitation, any
claims the Debtors may assert on their own behalf or on behalf of Creditors or
Interest Holders pursuant to sections 510 and 542 through 553 of the
Bankruptcy Code, any claims Creditors or Interest Holders may have asserted
derivatively on behalf of the Debtors absent bankruptcy, any claims based on
the conduct of the Debtors’ business affairs prior or subsequent to the
commencement of the Cases or any claims based on the negotiation,
submission and confirmation of the Plan).

        11.10 Solicitation of the Plan.

        As of and subject to the occurrence of the Confirmation Date: (a) the DebtorsTH
Holdco shall be deemed to have solicited acceptances of the Plan in good faith and in compliance
with the applicable provisions of the Bankruptcy Code, including without limitation, sections
1125(a) and (e) of the Bankruptcy Code, and any applicable non-bankruptcy law, rule or
regulation governing the adequacy of disclosure in connection with such solicitation.

        11.11 Plan Supplement.

        The Plan Supplement, if any, shall be filed with the Clerk of the Bankruptcy Court by no
later than five (5) business days prior to the Confirmation Hearing. Upon its filing with the
Bankruptcy Court, the Plan Supplement may be inspected in the office of the Clerk of the
Bankruptcy Court during normal court hours.




38US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 39 of 46



SECTION 12.             RETENTION OF JURISDICTION.

       On and after the Effective Date, the Bankruptcy Court shall retain jurisdiction over all
matters arising in, arising under, and related to the Chapter 11 Case for, among other things, the
following purposes:

               (a)    to hear and determine motions and/or applications for the assumption or
rejection of Executory Contracts or Unexpired Leases and the allowance, classification, priority,
compromise, estimation or payment of Claims resulting there from;

               (b)       to determine any motion, adversary proceeding, application, contested
matter, or other litigated matter pending on or commenced after the Confirmation Date;

               (c)      to insure that distributions to holders of Allowed Claims are accomplished
as provided herein;

               (d)   to consider Claims or the allowance, classification, priority, compromise,
estimation or payment of any Claim;

              (e)    to enter, implement or enforce such orders as may be appropriate in the
event the Confirmation Order is for any reason stayed, reversed, revoked, modified or vacated;

                (f)     to adjudicate any dispute related to the Sale Transaction;

               (g)      to issue injunctions, enter and implement other orders, and take such other
actions as may be necessary or appropriate to restrain interference by any Person with the
Consummation, implementation or enforcement of the Plan, including the Confirmation Order,
or any other order of the Bankruptcy Court;

               (h)   to hear and determine any application to modify the Plan in accordance
with section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any
inconsistency in the Plan, or any order of the Bankruptcy Court, including the Confirmation
Order, in such a manner as may be necessary to carry out the purposes and effects thereof,;

              (i)     to hear and determine all applications under sections 330, 331, and 503(b)
of the Bankruptcy Code for awards of compensation for services rendered and reimbursement of
expenses incurred before the Confirmation Date;

                (j)   to hear and determine disputes arising in connection with the
interpretation, implementation, or enforcement of the Plan, the Purchase Agreement, or the
Confirmation Order or any agreement, instrument, or other document governing or relating to
any of the foregoing;

                (k)    to take any action and issue such orders as may be necessary to construe,
interpret, enforce, implement, execute, and consummate the Plan or to maintain the integrity of
the Plan following Consummation;




39US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 40 of 46



               (l)    to determine such other matters and for such other purposes as may be
provided in the Confirmation Order;

              (m) to hear and determine matters concerning state, local and federal taxes in
accordance with sections 346, 505 and 1146 of the Bankruptcy Code (including any requests for
expedited determinations of the Debtors’ tax liability under section 505(b) of the Bankruptcy
Code);

              (n)    to adjudicate, decide or resolve any and all matters related to section 1141
of the Bankruptcy Code;

               (o)      to adjudicate any and all disputes arising from or relating to distributions
under the Plan;

              (p)    to hear and determine any other matters related hereto and not inconsistent
with the Bankruptcy Code and title 28 of the United States Code;

                (q)     to enter a final decree closing any of the Chapter 11 Cases;

                (r)     to enforce all orders previously entered by the Bankruptcy Court;

              (s)     to recover all assets of the Debtors and property of the Debtors’ Estates,
wherever located; and

               (t)    to hear and determine any rights, Claims or Causes of Action held by or
accruing to the Debtor pursuant to the Bankruptcy Code or pursuant to any federal statute or legal
theory.

SECTION 13.             MISCELLANEOUS PROVISIONS.

        13.1 Payment of Statutory Fees.

       On the Effective Date and thereafter as may be required, the DebtorsDisbursing Agent
shall pay all fees incurred pursuant to §section 1930 of title 28 of the United States Code,
together with interest, if any, pursuant to §section 3717 of title 31 of the United States Code for
the Chapter 11 Cases; provided, however, that after the Effective Date such fees shall only be
payable with respect to the applicable Chapter 11 CasesCase until such time as a final decree is
entered closing the applicable Chapter 11 CasesCase, a Final Order converting such case to a
case under chapter 7 of the Bankruptcy Code is entered or a Final Order dismissing the
applicable Chapter 11 CasesCase is entered.

        13.2 Substantial Consummation.

       On the Closing Date, the Plan shall be deemed to be substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code.

        13.3 Amendments.



40US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 41 of 46



               (a)    Plan Modifications. The Plan may be amended, modified or supplemented
by the DebtorTH Holdco in the manner provided for by section 1127 of the Bankruptcy Code
or as otherwise permitted by law without additional disclosure pursuant to section 1125 of the
Bankruptcy Code. In addition, after the Confirmation Date, the Post-Effective Date
DebtorsTH Holdco may institute proceedings in the Bankruptcy Court to remedy any defect or
omission or reconcile any inconsistencies in the Plan or the Confirmation Order, with respect to
such matters as may be necessary to carry out the purposes and effects of the Plan.

               (b)     Other Amendments. Before the Effective Date, the DebtorsTH Holdco
may make appropriate technical adjustments and modifications to the Plan and the documents
contained in the Plan Supplement without further order or approval of the Bankruptcy Court.

        13.4 Revocation or Withdrawal of the Plan.

        The Debtors reserveTH Holdco reserves the right to revoke or withdraw the Plan,
prior to the Confirmation Date. If the Debtors revoke or withdrawTH Holdco revokes or
withdraws the Plan, or if Confirmation or Consummation does not occur, then: (1) the Plan shall
be null and void in all respects; (2) any settlement or compromise embodied in the Plan
(including the fixing or limiting to an amount certain of any Claim or Interest or Class of Claims
or Interests), assumption or rejection of Executory Contracts or Unexpired Leases effected by the
Plan, and any document or executed pursuant to the Plan, shall be deemed null and void; and (3)
nothing contained in the Plan shall: (a) constitute a waiver or release of any Claims or Interests;
(b) prejudice in any manner the rights of the Debtors, the Debtors’ Estates, or any other Entity; or
(c) constitute an admission, acknowledgement, offer, or undertaking of any sort by the Debtors,
the Debtors’ Estates, TH Holdco or any other Entity.

        13.5 Severability of Plan Provisions Upon Confirmation.

        If, before the entry of the Confirmation Order, any term or provision of the Plan is held by
the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the request
of the DebtorsTH Holdco, shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original
purpose of the term or provision held to be invalid, void, or unenforceable, and such term or
provision shall then be applicable as altered or interpreted. Notwithstanding any such holding,
alteration or interpretation, the remainder of the terms and provisions of the Plan will remain in
full force and effect and will in no way be affected, impaired or invalidated by such holding,
alteration or interpretation. The Confirmation Order shall constitute a judicial determination and
shall provide that each term and provision of the Plan, as it may have been altered or interpreted
in accordance with the foregoing, is (1) valid and enforceable pursuant to its terms; (2) integral to
the Plan and may not be deleted or modified without the consent of the Debtor or the
Post-Effective Date Debtors (as the case may be)TH Holdco; and (3) nonseverable and
mutually dependent.

        13.6 Governing Law.

       Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the
extent an exhibit hereto or a schedule in the Plan Supplement provides otherwise, the rights,


41US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 42 of 46



duties and obligations arising under the Plan shall be governed by, and construed and enforced in
accordance with, the laws of the State of New York, without giving effect to the principles of
conflict of laws thereof.

        13.7 Time.

        In computing any period of time prescribed or allowed by the Plan, unless otherwise set
forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy Rule 9006
shall apply.

        13.8 Additional Documents

        On or before the Effective Date, the DebtorTH Holdco may file with the Bankruptcy
Court such agreements and other documents as may be necessary or appropriate to effectuate and
further evidence the terms and conditions of the Plan. The DebtorTH Holdco, the Debtors and
all holders of Claims or Interests receiving distributions pursuant to the Plan and all other parties
in interest shall, prepare, execute, and deliver any agreements or documents and take any other
actions as may be necessary or advisable to effectuate the provisions and intent of the Plan.

        13.9 Immediate Binding Effect.

        Notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise, upon the
occurrence of the Effective Date, the terms of the Plan and Plan Supplement shall be
immediately effective and enforceable and deemed binding upon and inure to the benefit of the
Debtors, the Purchaser, the holders of Claims and Interests, the Released Parties, the Exculpated
Parties, and each of their respective successors and assigns.

        13.10 Successor and Assigns.

       The rights, benefits and obligations of any Person named or referred to in the Plan shall
be binding on, and shall inure to the benefit of any heir, executor, administrator, successor or
permitted assign, if any, of each Entity.

        13.11 Entire Agreement.

      On the Effective Date, the Plan, the Plan Supplement, the Purchase Agreement, and the
Confirmation Order shall supersede all previous and contemporaneous negotiations, promises,
covenants, agreements, understandings and representations on such subjects, all of which have
become merged and integrated into the Plan.

        13.12 Notices.

        All notices, requests and demands to or upon the DebtorDebtors to be effective shall be
in writing (including by facsimile transmission) and, unless otherwise expressly provided herein,
shall be deemed to have been duly given or made when actually delivered or, in the case of notice
by facsimile transmission, when received and telephonically confirmede-mail,
addressed as follows:



42US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 43 of 46



                (i)     if to the DebtorsIF TO THE DEBTORS:


                        GC Realty Advisors, LLC
                        3284 N 29th Court
                        Hollywood, Florida 33020
                        Attn: David Goldwasser

                        - and —-

                        Robinson Brog Leinwand Greene Genovese & Gluck P.C.
                        875 Third Avenue, 9th Floor
                        New York, New York 10022
                        Telephone: (212) 603-6300
                        Facsimile: (212) 956-2164
                        E-mail: fbr@robinsonbrog.com
                        Attention: Fred B. Ringel., Esq.

                (ii)    IF TO TH HOLDCO:

                        TH Holdco, LLC
                        c/o Dentons US LLP
                        1221 Avenue of the Americas
                        New York, New York 10020
                        Attn.: Lauren Macksoud and Christopher Milenkevich
                        E-Mail: lauren.macksoud@dentons.com
                          christopher.milenkevich@dentons.com

After the Effective Date, the Debtors or TH Holdco shall have the authority to send a notice to
Entities that to continue to receive documents pursuant to Bankruptcy Rule 2002, that they must
file a renewed request to receive documents pursuant to Bankruptcy Rule 2002. After the
Effective Date, the Debtors or TH Holdco are authorized to limit the list of Entities receiving
documents pursuant to Bankruptcy Rule 2002 to those Entities who have filed such renewed
requests.

                              [signatures on folio wingfollowing page]




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20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 44 of 46



Dated:           November 24, 2021February 20, 2022
                 New York, New York

                                         85 Flatbush RHO MezzTH Holdco, LLC
                                         85 Flatbush RHO Hotel LLC
                                         85 Flatbush RHO Residential LLC
                                         By GC Realty Advisors, LLC, Manager




                                         By: /s/ David Goldwasser
                                         __________________________
                                               Authorized Signatory
                                         David Goldwasser
                                         Managing Member




                                           44
US_Active\120281430\V-116
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 45 of 46




  Document comparison by Workshare 9.5 on Sunday, February 20, 2022
  10:19:41 AM
  Input:
  Document 1 ID       interwovenSite://usdms/US_Active/120281430/1
                      #120281430v1<US_Active> - 85 Flat - DKt No. 142 -
                      Chapter 11 Plan Plan of Reorganization of 85 Flatbush
  Description
                      RHO Mezz LLC 85 Flatbush RHO Hotel LLC and 85
                      Flatbush RHO Residential LLC1
  Document 2 ID       interwovenSite://usdms/US_Active/120281430/16
                      #120281430v16<US_Active> - 85 Flatbush - Creditor TH
  Description
                      Holdco's Chapter 11 Plan
  Rendering set       Underline Strikethrough

  Legend:
  Insertion
  Deletion
  Moved from
  Moved to
  Style change
  Format change
  Moved deletion
  Inserted cell
  Deleted cell
  Moved cell
  Split/Merged cell
  Padding cell

  Statistics:
                      Count
  Insertions                               395
  Deletions                                289
  Moved from                                 8
  Moved to                                   8
  Style change                               0
  Format changed                             0
20-23280-rdd Doc 152-4 Filed 02/20/22 Entered 02/20/22 17:11:26 Exhibit D -
Redline Showing Differences Between Chapter 11 Plan Filed by TH Hold Pg 46 of 46




  Total changes                          700
